Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 1 of 87

Eiht £2

U.S.
Right of Way Authority
Reading Company Chief of Police

In Private e Citizen Right

v.
Pennsylvania Court of Common Pleas at Montgomery County
Judge: William R. Carpenter

Prosecutor: Tomas E. Carluccio

ae,

Pennsylvania Common Pleas Court at Philadelphia

Pennsylvania Common Pleas Court at Lebanon

A Direct response to Quo Warranto Action pursuant to Rule 3307 of the Pennsylvania Rules of Appellate
procedure, the Supreme Court Has original Jurisdiction over the Action

Represented:

A Pennsylvania, Attorney General Kathleen Kane Case No. # MD 1424 — 2014

And other Related Cases

co P-~51I~CR 0006077- 2018
2856 EDA Lols

3 Rebecca Runkel Case No. Cc P—S Ss OV 0000 [Fo ~~ Zoe ©
y— pathic Roco Reese Zoli 7S

“E._U.S. Right Of Way Authority Ibrahim Aly Case No.

Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 2 of 87

U.S.
Right of Way Authority
Reading Company Chief of Police

In Equity

V.

Fraud and False Claim to Equity and Title of land to United States of America and to Private Corporation

1-Queen of England

2-Government of Canada

3-london Holding

4- American Premier Underwriters, Inc.

5- Reading International, inc.

6- Hudson’s Bay Company - North West Company — Columbia Department and other Associated

Other Corporation Name will be | summited to the Court in accordance to case jurisdiction, due to
ongoing investigation.

Court of Common Pleas Mc-51-cr-0022954-2012,

U.S. Federal District Court of Appeal, United States Department of Transportation Fl-2014-033 April 1,
2014

U.S Right of Way Authority represented United States Federal Government, Commission by United
States of America U.S Congress Act $.4017

Railroad Charter Chief of Police, a Peace Officer, Represented Reading Company a Private Corporation,
register in States of Pennsylvania and States of Delaware, owner of the United States Charter Land for
the original 13 States and the Federal Purchas under the registry of Reading Company Land & Title of
North America, a Contracting corporation by Pervasion of Secure and Enforcement of mortgagee
Licensing Act of 2008 S.S.F.E. ( 12 United States Code, Section 5100. Et seq.) And Reading Company Audit
Master for the Recovery of Debits Public and or Private.
Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 3 of 87

IN THE COURT OF COMMON PLEAS
MONTGOMERY COUNTY, PENNSYLVANIA

IN RE: , Md 1424-2014.

THE STATEWIDE : :
% : MONTGOMERY COUNTY COMMON PLEAS
INVESTIGATING GRAND JURIES el,

: In-Re: Powers and Responsibilities of

: Special Prosecutor Exercising

: Extraordinary Jurisdiction; on Allegations that
: Secret Grand Jury. or Related Information was
: Unlawfully and/or Negligently

: Accessed/Released/Compromised

SEALING ORDER.

AND NOW, this 29th day of May, 2014, it is hereby ORDERED, ‘that the attached —

Order of May 29, 2014 be filed under seal with the Clerk of Courts of Montgomery

Ss =.
— Q .
County until further Order of this Court. x s r
PM vA,
wo at.
PeRO
% oS
BY THE COURT: mt
a
WILLIAM R. CARP. TER, J
Supervising Judge
True and correct Copy
Certified from the record a
This. 1. Day of: 00% uwAD, 20,05.

Cb. enrcg: Jeia.,

lerk"of Sours

Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 4 of 87

a direct Response to Quo Warranto Action

Pursuant to Rule 3307 of the Pennsylvaina Rules of Appellate Procedure, the Supreme Court has original
Jurdiction over the Action:

A- Challenging the order Entered on may 29, 2014 by the Honorable William R. Carpenter, Supervising
Judge of the Thirty-Fifth Statewide Investigating Grand Jury, extended His Invesatigation to Previous
29 Statewide Invesatigation Grand Jury which involved with the Mondesire matter six years
ago, dated _" 2009 ."

B- Challenging the Right for Judge Carpenter Persiding as the Supervising Judge of the Thirty
Fifth Statewide Investigating Grand Jury due to lack of Jurdiction for Procceding becuse his
term had Expire on Date of June, 2014 See Id. See Id #

C- Challenging Judge Carpenter Order in Grand Jury Invesatigation Presentement # 60 for Violatioin to
Superme Court order Parameter's as Set forth by Supreme Court Justice in part 4,5, 6, 7 See Id
Parameter's

where Carpenter demand that the Supervising Judge must have inherent authority to investigate a
grand jury leak, when there is a conflict of interest as there is here. “Clearly” Attorney General Kane
could not investigate herself. Other wise judge Carpenter claim that there will be a potentially of
serious violation to grand jury secrecy could go unaddressed.

Court Case File No. # MD 1424 - 2014
undersigned by Fraud based on Fulse Allegation that Secret Grand Jury or Related Information was
Unlawfully and or Negligently Accessed / Released / Compromised.

Court Inhartance by: Judge William R. Carpenter

the Supervising Judge Who :

Maintains the legal Judgment authority in Montegomery Common Pleas Court.

Maintains the Leglal Judgment Authoirity as Supervising Judge

oversee the proceeding of the Thirty-fifth Invesatigating Grand Jury.

Empanel Grand Jury 35 Invesatigation Grand Jury R ' h J
QO fy, ' iChavd Y-

d42 willfap ys for ber yr, © Han 2. t

ZS iwillta wr
Appointing Magistrate Judge of Montegomery County : Cathleen Kelly Rebar I Nicho Las

Empanel Three Judge from Montegomery County Ju

Challen ene AH UOHG EA Peers Ot Aya Psfers of 87

Appointing Special Proscecutor: Thomas E. Carluccio
Appointing District Attornerny Risa Vetri Ferman
Appointing Police Detactive: Paul M. Bradbury

Appointing Montegomery County Bureue of Police Detactive to invesatigate the office of Attorny
General

issueing a Warrant of Arrest

issue protective Order pursuant to section 4954

Secound Challenging the Appointing Thomas E. Carluccio, Esquire as Special Prosecutor

Challenging Judge Carpenter Order by the Court that the Special Procecutor :

1. Shall use any currently empaneled Grand Jury to invesatigate any suspected violatioin or cecrecy .
2. Shall have immunit right for the Attorney General

3. shall have the right to employee staff

4. shall have indendance and be free

5. shall be permited to invesatigate the past and present member of the Office of Attoreny General
6. shall be impowered, and have Authoirity to invesatigate and procecute crimes

7. shall comply with relevant statutory and case law as well as applicable canon of ethics

8. shall be remeoved from the special perscutor postion by the Judge and or Pa. Supreme Court

9. Shall be appointed for a period not to exceed six month for date of May 29, 2014

10. shall be Compensated and paid by the Commonwealth of Pennsylvaina
11. Shall provide the Judge with any periodic smmaries of any progress
12. shall submit a report addresd to the Pennsylvaina Suprme Court and to Supervising Judge

== History

On August 28, 2012, Acting Pennsylvania Attorney General Linda L. Kelly filed an application pursuant to
the Investigating Grand Jury Act, 42 Pa.C.S. 4541, 4543, 4544, and 4547 et seq. because of organized
or public corruption or both involving more than one country of the Commonwealth.

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** "the ability of the grand jury to compel the attendance of witnesses and to compel their testimony
and oath is needed and to take testimony and oath is also needed in order to preserve the testimony of
these witnesses for later evidentiary use in the event the witnesses testify differently at trial "

** the power of the grand jury to compel the production of this documentary evidence is also required
in order to conduct a full and adequate investigation

** Attorney General Kelly designate Montgomery County location because it is accessible to persons
having business with the grand jury due to available transportation facilities Buses and Railroad

** Attorney General Kelly requesting an order convening an additional multicounty investigating grand
jury having statewide jurisdiction the Supreme Court of State of Pennsylvania

The power of the grand jury to compel the production of this
decumentary evidence is also required in order to conduct a full and
adequate investigation.

( see EXHIBIT --- LINDA KELLY)
Commonwelth of Pennsylvania, Investigating Grank Jury Act, 42 Pa. C. S. 4543 instated that:

convening County Investingting Grand Jury (b) underr whitin ten days of reciep of such application .

the Supreme Court Order No. 176 Misc. DOCKET 2012 MD 2644 - 201
on the Date of October 4 , 2012 Supreme Court Judge Castille Granted the Convened of the Thirty-

Fifth Statewide Investigating Grand Jury

ORDER OF COURT

AND NOW, this 4°° day of October, 2012, upon consideration of the

application of Linda L. Kelly, Attorney General of the Commonwealth of
Pennsylvania, and it appearing to the Court that the granting of the
application is appropriate under the Tnvestigating Grand Jury Act, 42
§ 4541 et seg., it is hereby ORDERED as follows:

1- Judge Castille desgnated Montgomery County , Court of Common Pleas, 38 Judicial District, as
designated Location and Judge William R. Carpenter as Supervised Judge have jurisdiction over all
counties in the Commonwealth of Pennsylvania

2- Judge Carpenter may temporarily designate another Judge who have been appointed by the
Supreme Court as Supervising Judge to act as Acting Supervise Judge when he is absent or otherwise
unavailable

3- Montgomery County is designated as the location for the Thirty- Fifth Statewide Investigating
Grand Jury proceedings.

4- The Court Administrator of Pennsylvania is Directed to draw six counties plus Montgomery County

for the Supply of Jurors for the Thirty- Fifth Statewide Investigating Grand Jury.

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5- The Court Administrator of Pennsylvania is directed to obtain the names and addresses of persons
residing in the aforesaid counties who are eligible to serve as grand Jurors Pursuant to Rule 241{a) 2

6- the total of such names of prospective Juror to be collected
shall be 200, of which 50 shall be selected at random and summoned by
the Court Administration to Montgomery and the Supervising Judge shall
impanel the investigating grand jury form this panel of 50 prospective
Jurors and For Additional Jurors the Supervising Judge Can summoned
the remaining of the 150 prospective Jurors.

7- the Thirty-Fifth Investigating Grand Jury will remain in session for not more than 18 months

8- the Attorney General or Her designee in charge of the Thirty-Fifth Statewide Investigating Grand
Jury , may apply to the Supervising Judge for an extension of the term of investigation Grand Jury for an
additional period of up to six months finally the the investigating Grand Jury’s term including any
extension thereof shall not exceed 24 months from the date it was originally impaneled .

Chief Justice Castille’s October 4, 2012 order outlined the parameters of Judge Carpenter’s Jurisdiction
and authority as is customary for an Order of a Chief Justice of the Pennsylvania Supreme Court
designating a Judge of the commonwealth as the supervising Judge of an investigative grand Jury (See
EXHIBIT 4,5 ,6 & 7 Parameter's.

In Regard Castille’s as Order of outline Parameters of Judge Carpenter’s :
A- Jurisdiction as set by the Order of the Supreme Court shall be over all counties in Commonwealth

B- Authority as set by the Order of the Supreme Court Judge Castille
outlining Judge Carpenter Parameter's

Chief Justice Castille’s October 4, 2012 order outlined the parameters of Judge Carpenter’s Jurisdiction
and authority as is customary for an Order of a Chief Justice of the Pennsylvania Supreme Court

designating a Judge of the commonwealth as the supervising Judge of an investigative grand Jury ( See
EXHIBIT by the Supreme Court Order No. 176 Misc. DOCKET 2012 MD 2644 - 201 on the Date of
October 4, 2012 ) It's all kosher. No one is out to get her," Castille said.

Supreme Court Chife Justice Judge Castille’s Order of outline Parameters to Judge Carpenter's
Jurisdiction and Authoriy, as coustomary for an Order og Cheif Justice of the Pennsylvania Supreme
Court designated a Judge of the Commonwealth as the supervising judge of an investigative grand jury

Chief jushtic Castille's order October 4, 2012

a Parameters order requirment by the Supreme Court Chief Justice Ronald D. Castille as the Chief
Author for State Wide Investegating grand jury Parameter's in accrdance to pennsylvania State Law “
Supreme Law” , and Statue, United States Citizen Right Inforced by Voting Right and Civil Right Act in
Particulars Write are Set by Pennylvania General Assambly, the Elective Authorities by Pennsylvania
State Assembly is the Law maker and the only legislation Authorities t to legislated law Statue for

Pennsylvania for protection to its Civil Society.

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chief Justice Castile's Author of the Invesatigating Grand Jury Parameter's by outline the Authoirity of
Supervising Grand Jury Invesatigating Judge setup the Time of Invesatigation from the Start to Endin a
System by define the scope of each and every seting each particulars activities for Supervising Judge in
Grand Jury Invesatigating Must be followed . the Inforcement of the law is Regulated by a regulation to
inforce the mandated writ of Pennsylvaina States Constitution and General Assembly law Statue as
Regester furthermor the interpatation to Law Statue by Judge Caprpenter never Perminted Him to
Challenging nor to Superseded the Authoirity of Supreme Court nor the Authority of General Assembly.

the supreme law of the land is the United Staes of America Federal Constitution, law inforcement by the
U.S. Right of Way Authoirity Police Force, and by Reading Company Railroad, Charters Police to the
land Federal, States, and County level with its Muncibility . Right of Way Authoirity is a privat citizen,
who defend the 50 Stars Federal Flag, the Flage of the Unionland, the law of the Union as mandated
by the Supreme Law of the Union Land, including the State of Hawaii in which Englandl in violation to
United States Federal Constitution Supreme law of the Land for unathorised Flage on United State Land
and to end the Civil War Eara for the secound time in United States History by Ending England Family
fulse Claim to United States Railroad Charters land In Whshington, the Federal Capital Land includeing
the Right of Way on which the England Family Flag “ kwon as District of Columbia Flag is Sized by U.S
Right of Way Authority the Trustor of Federal Union Capital Washington , the Fifty Stars flag, North
America, the Federal Union Land thereafter, the owner of Washington D.C. Union Station is Reading
Company the Owner of Charter land of “ Philly & Reading” “ Revelation=====”" Under a Fderal
Mandated Law of Land & Title since 2008, a Federal Invesating Law Inforcement Officer to inforced
United States Congess Act, the Fedral Law of the United States of America Constitution to its Capital as
Articailated and the Bill of Rights, Voting Right Act is protected and inforcement by Local, States, and
Fedreal law “no one above the Law “ and Finly the Matter of Eqiuty are inforcement aginst any
violatioin in Equity to Reading Company Corporation, the Owner to the Originally 13 State and Private
Railroad ChartersLand to North America is Sized To the owner of the Land will be set and met. (in
other term “ the oborator for a contract must set the termes and condition to all party agree, sigin and
be regester as Evidentiary by law. Furthermor the States of Virignia Violatioin to Suprme Court Clused,
United States Prescedent Exactive Order and to United States Congess Act for Claim the 31 Sq. Miles of
Union Federal Land ( Alexandria part, Arlington Part , and Landwin County a Part in Which No Right to
Claim Federal Capital Land ) No Right ever Granted to Union Capital Land to be Part of State of Virginia
nor to be a County in State of Virignia ) all Land are Size to Federal Capital by U.S. Right of Way
Authoirity Land & Title.

Judge Carpenter Letter May 29, 2014 send to Castille the Chief Justice of Pennsylvania Supreme Court as
instated as to Enclosed Carpenter’s Order to appointing a Special Prosecutor to investigate an allegation
that secret Grand Jury information from a prior Grand Jury was released by someone in the Attorney
General’s Office and Carpenter’s ask Supreme Court Judge Castille to Call him if he would like to discuss
this matter further and also Ask Honorable Castille to advise Carpenter if he in error or have exceeded
his authority as the Supervising Grand Jury Judge------------------ (see EXHIBIT No. ======

where Carpenter demand that the Supervising Judge must have inherent authority to investigate a

grand jury leak, when there is a conflict of interest as there is here . “Clearly” Attorney General Kane

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could not investigate herself. Other wise Carpenter claim that there will be a potentially of serious
violation to grand jury secrecy could go unaddressed. the issue is within the frame to the administrative
Conduct law and its Regulation as explain in Pennsylvania Supreme Court order No. 176 Misc Docket
2012 - 201 which instated that the 35 Statewide investegation Grand jury should end after 18 month
from the time of impaneled, " the 35 Statewide investegating Grand Jury was impaneled on Junury,
2013 " See Id. 176 Misc Docket 2012 .

in Accordance to Supreme Court Order Judge Carpenter Last Day to act as disegnated Supervised Judge
Should be June, 2014

Supreme Court Order stated that; "unless the the Attorney General or Her designee in Charge of the 35
Statewide investegation Grand Jury apply to the Supervised Judge for extension to the term of the 35
Statewide Investegaation Grand Jury, then the ending of His term for acting as desginated Supervised
Judge must be June, 2014 that was the Suprme Court Order Paramiter Requirement in which Judge
Carpenter Violated becuse their wasn't any Court doucment on file founded to proved that Judge
Carpenter ever Granted a "permition and or aproval " by the Attorney General Kathleen Kane or Her
desegnee to Act as Supervising Judge after June, 2014

Judge Carpenter Unlawfully Acting as Supervised Judge after the His term had been expiere on June,
2014 by Order of Supreme Court Mandated Parameter's, thereafter any Court Order issued by Judge
Carpenter after his Job had been Terminated by Supreme Court Order should be void thereafter Judge
Carpenter, the Supervising Judge doesn't havn't any Right to isuue an Opnion and or to inforced Court
Order after his Job has terminated on June, 2014.

see Td. No. 8 - Supreme Court Order No. 176 Misc. Docket 2012 MD
2644- 201

Supreme Court Order istated that Judge Carpenter is to Supervised 35 Statewide Grand Jury
Investegation, However Judge carpenter Violation for interferance to inforced His Opnion on the
Supreme Court when he Order that the Removal of the Special Procecutor be done by the “Supreme
Court Order" furthermor the Supreme Court Never demand of Hairring a Special Procecutor Nor Have
any Right to make a cesstion to Judge Carpenter by Folw His wrong Order of Law Interpretations and
inforcement of His Opnion on Supreme Court .

dated to 19 December 2014 in which Judge Carpenter been Terminated to Act as Desginated Supervised
Judge after His Term Had been Expierd on June 2014 thereafter his Court Order Lack the due Pross of
inforcement and Lack any new right to issue Order by Judge Carpenter, thereafter Montgomery County
Common Pleas Court proceeding by Judge Carpenter Lack Mirrite to issue Court Order to his Special
Procecutor Thomoas E. CarlucThomoas E. Carlucciocio, who lack the Authorities to investegat becuse He
had been Hair by Unlawfully Supervised Judge Carpenter, who Lack Authorities to issue and Inforce
Court Order due to Violation of Pennsylvaina Supreme Court Order parameter's to His term should be
Expired on June 2014.

See id #8

Supreme Court Order No. 176 Misc. Docket 2012 MD 2644- 201 Td.# 4,5,6

4. The Court Administrator of Pennsylvania is directed to draw six
counties at randorn from the eastern district of Pennsylvania,
pursuant to the provisions of Rule 241(a)(1) of the Pennsylvania Rules
of Criminal Procedure, Pa. R. Crim. P. 241(a) (1), and that these

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sixcounties, plus Montgomery County, shall together supply jurors for
the Thirty-Fifth Statewide Tnvestigating Grand Jury.

5. The Court Administrator of Pennsylvania is directed to obtain the
names and addresses of persons residing in the aforesaid counties who
are eligible by law to serve as grand jurors, pursuant to tHe
provisions of Rule 241(a)(2) of the Pennsylvania Rules of Criminal
Procedure, Pa. R. Crim. P. 241(a) (2).

6. The total of such narnes of prospecti'Ye jurors to be collected
shall be 200, of which 50 shall be selected at random and summoned by
the Court Administrator of Pennsylvania to Montgomery County. The
Supervising Judge shall impanel the investigating grand jury from this
panel of 50 prospective jurors. Tf it becomes necessary, additional
prospective jurors shall be summoned by the Supervising Judge from
among the remaining 150 prospective jurors.

No judge ever Granted any Right to use the Court System to His or Her
own idolgy without regarding to the Rule of Law as instated by
Pennsylvania Supreme Court . furthermore Judge Carpenter never Comply
with Pennsylvania basic General Law and his action violated to all
applicable Canons of ethics for what He case by his unlawfully action
to Moc State of Pennsylvaina Justice System See Td. 5, 6,

See Td # 12 Montgomery County Common Pleas Court Order By Judge
Carpenter on the 29 of May, 2014.

Judge Carpenter violated the Grand jury integrity becuse their wasn't
any Grand Jury inpanaleing as setforth by Supreme Court Order that;
All applications and motions relating to the work of the Thirty-
FifthStatewide Tnvestigating Grand Jury—-including motions for
disclosure of grand. jury transcripts and evidence.

4541 et seq., for the creation of an additional multicounty
investigating grand jury having statewide jurisdiction, and in
support-thereof avers as follows:

GRAND JURY ACT
4531- issance of court order for jurors, Court orders derecting the jury selction Commission to select an
array of jurrors shall be issued in the form prescribed by General rules or rul of court.

Commonwelth of Pennsylvania, Tnvestigating Grand Jury Act, 42 Pa. C.
S. 4543 instated that:convening County Tnvestingting Grand Jury:
Judge shall impanel the investigating grand jury form this panel of 50
prospective Jurors and For Additional Jurors the Supervising Judge Can
summoned the remaining othe 150 prospective Jurors. Court Record
showed no call by the Court Administration for Jury to proceeding in
Kane Case.

ORDER ACCEPTING PRESENTMENT NO # 60

Judge William R. Carpenter statment on Opnion in which stated that

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A . the Court finds Presentment No. # 60
_ of the Thirty - F ifth Statewide invesatigating Grand jury is within the authority of said Grand Jury
_is in accordance with the Pervisions of this Invesatigating Grand Jury Act , 42 Pa. C.S. # 4541 et seq.
-Probalble Cause and established a Prima Facie case aginst Attorney General Kathleen Kane
.this Presement is accebted by the Court

B. the County conducting the trail of charges pursuant to Presentment shall be Montegomery County .

C .the District Attorney of Montegomery County or here designee is authorised to as Recomanded in
the Presement by instituting appropriate crminal proceeding in aforesaid county

. SO ORDERED this 19 day of December, 2014
the Thirty - F ifth Statewide invesatigating Grand jury is within the authority of said Grand Jury

their was no Grand Jury thereafter no Authoirity by the Grand Jury thierfor Judge Carpenter Lie Under
Auth theirafter will be Charge with

Carpenter notice on December 18, 2014, for the Thirty-Fifth Statewide Investigating Grand Jury issued
Presentment No. 60 in which their were reasonable grounds that Attorney General Kane was involved
in violation of criminal law of our Commonwealth. write from page 3 of 27 Exhibit

Judge Carpenter not permited to Act as Supervised Judge of 35 Statewide Invesatigation Grand Jury
after his Job had been terminated on the date of June, 2014 thereafter Judge Carpenter , who have no
Legal Authoirity to file a Court Case in Montegomery County for lacking a Jurdiction and lacking to Act
as Supervising Judge on Date of December 18, 2014 thereafter Judge Carpenter Order of accpting
Presentment No. 60 is Moot and Void.

Judge Carpenter also violated Supreme Court Order Requirement to inplmenting a Grand Jury in which
the Supreme Court Order mandatory to inpanaleing a Grand Jury by the TheCourt
Administrator of Pennsylvania in which Judge Carpenter had accpted
Prescedent No. # 60 and in violatioin to Tnvesatigating Grand Jury
theirfore the District Attorney of Montegomery County Lack a Merit for
Procecution Attorny General case in the Court of Common pleas
Montegomery County Pennsylvaina

See ld. Parameter's issue by Supreme Court Order No. 171 M.D. MISC DKT. 2012

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EN FRE COURT OF COMMON PLEAS
MONTGOMERY COUNTY, PENNSYLVANIA

IN RE; : SUPREME COURT OF PENNSYLVANIA
: NO. 197 MM 2014

THE THIRTY-FIVE STATEWIDE :

: MONTGOMERY COUNTY COMMON PLEAS

INVESTIGATING GRAND JURY : M.D. 2644-2012 ,

: NOTICE NO. 123

CERTIFICATE OF SERVICE

1, William R. Carpenter, Supervising Judge of the 35" Statewide Investigating Grand Jury, certify

that a true and correct copy of the attached Opinion was forwarded to the persons set forth below via First

Class Mail on December 30, 2014.

WILLIAM R. CARPENTER,

Supervising Judge

Montgomery County Court of Common Pleas
P.O. Box 311

Norristown, PA 19404

no right for Judge Carpenter to issue any Court Order for Laking of Jurdiction due to His Term
terminated as Acting as a Supervising Judge on June, 2014 theirafter no Right Granted to issue a
Cerificate of serivce to Special Procecutor to invesatigating of improper disclosure of information and
documention properly protected under grand jury SECRECY _, a Documentation subjuct to Grand Jury
secrecy procecution improperly released to the public news media Information Under Seal

Judge Caprpenter agree with the Special Proscecutor request that certain materials be unsealed or at a
minimum disclosed to the Pennsylvaina Supreme Court prior th aruiment on March 11, 2015

the disclosure of the information and materials comes form the Office of Attorney General

Moreover and of coswquence, the Thirty- Fifth Invesatigating Grand Jury was Indeed empanel and
supervised in accordance with the requirments of 42# 4544 (a), notably under Application for and Order
Directing that a Multicounty Grand Jury be Convened by the then Attornerny Linda Kelly , by the Order
of Spreme Court on the Date of 10/4/2012 the Thrity- Fifth Invesatigating Grand Jury empanel and
supervised in Accordance with the Requriment of 42 Grand Jury Act S.C. # 4544 notablly under
Application for an Order Dircting that a Multicounty Grand Jury be Convened by then the Attoreny

General Linda Kelly. in which Judge Carpenter Violated

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See Id. pennsylvaina Supreme Court issue Order --- on date of_10/4/2012

Note that : the Grand Jury never inpanale as Mandated by Suprme Court Order

that there were reasonable grounds that Attorney General Kane was involved in violations of
criminal law of our Commonwealth. See, Exhibit “B’, Presentment No. #60, dated December
18, 2014: specifically, Perjury, 18 Pa.C.S.A. §4902, False Swearing, 18 Pa.C.S.A. §4903,
Official Oppression, 18 Pa.C.S.A. §5301 and Obstruction Administration of Law or Other
Governmental Function, 18 Pa.C.S.A. §5101. Subsequently, on December 19, 2014, | entered
an Order Accepting Presentment No. #60. See, Exhibit "C", Order Accepting Presentment No.
#60, dated December 19, 2014. Furthermore, | referred the entire matter to the District Attorney
of Montgomery County for any prosecution. Therefore, this Quo Warranto Action has been

rendered moot.

Finally, the Attorney General has requested to “unseal this filing” See, Attorney
General Kane’s Memorandum of Law in Support of Quo Warranto Action, December 17, 2014,
p. 2, n. 1. If her filing is unsealed then, in fairness to the public, the members of the Grand Jury,
and members of The Office of Attorney General, my Opinion and Exhibits should also be
unsealed.
CONCLUSION
{ respectfully submit that Attorney General Kane's Quo Warranto Action lacks

merit and should be denied. In addition, it has been rendered moot.

BY THE COURT:

ODE Cope QC

WILLIAM R. CARPENTER
SUPERVISING JUDGE OF THE THIRTY-
FIFTH STATEWIDE INVESTIGATING
GRAND JURY

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IN THE COURT OF COMMON PLEAS MONTGOMERY COUNTY, PA

IN RE: : SUPREME COURT OF PENNSYLVANIA
. : NO. 176 M.D.D MISC. KT 2012

THE THIRTY-FIFTH STATEWIDE

INVESTIGATING GRAND JURY

MONTGOMERY COUNTY COMMON PLEAS
M.D. 2644-2012

CERTIFICATE OF SERVICE

I, Thomas E. Carluccio, Esquire do hereby certify that a true and correct copy of the Answer of Special
Prosecutor to the Motion to File under Seal the Quo Warranto Action has been filed of record with the Pennsylvania
Supreme Court , and a copy of which has been directed on the 7" day of January, 2015 by first class U.S. Mail,

postage prepaid, to all parties in interest, as follows:

Amil M. Minora, Esq. Gerald L. Shargel, Esq. The Hon. William R. Carpenter
700 Vine Street 200 Park Avenue Court of Common Pleas of Montgomery
Scranton, PA 18510 New York, NY 10166 County

P.O. Box 311

Norristown, PA 19404-0311

44- f at—

Thomas E. Carluccio, Esquire

Attorney 1.D. No. # 81858

Plymouth Greene Office Campus

1000 Germantown Pike, Suite D-3

Plymouth Meeting, PA 19464-2484

(484) 674-2899

Special Prosecutor of Investigating Grand Jury No. 433

no Right granted to Special Procecutor to invesatigate Attorney General Kane nor the Emplyee at the
Office of Attorny General

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1- Judge Caprpenter Violatioin to Supreme Court Parameter's requirement for a proved Permiseion
From Attorney General Or Her Deszegnee in which Judge Caprpenter countinued to act as Supersing
Judge without permiseion, and He is in violatioin to Supreme Court order parameter's.

2- Judge Carpenter violation for net inpanaleing the Grand Jury as set force by the Court
Administrationat by the Order of the Supreme Court

3- Judge Carpenter Commet Perjury by Issue Presmtmen # 60 insted of the Grand Jury

4- Judge Carpenter false Swearing 18 Pa. C.S.S. § 4903 in singnig a Court Statment Under Auth,
Covering the Fact that their wasn't any Grand Jury Prescedent to issue Presmtment # 60 on Dec. 18,
2014

Memorandum in support of the answer by special prosecutor Thomas E. Carluccio Esq.” affanta"
to Quo warranto action of Attorney General Kathleen G. Kand Indiv.

* Thomas E. Carluccio violation in Fuslse Perscuting Attorney General Kathleen G. Kand as Indiv., the
Allegation is related to Attorny General Kane working, Attorney General Granted full Authoirity to
Proscecute and Granted Full Protection to ===, inforcement by the law of the Land Constitutition,
Federal and State theirafter her Individual as Private Citizen also protected in which she never violated
the Law of the Land under the United States of America 50 Stars Flag, never allow the Binch Warrant
Judg by Her Majsty the British Queen Order not Permited on North America Land after July 4, 2015
thereafter U. S. Right of Way Authority Inforced July 4, 1776 the Artical of Independent . However

no intrest in Judicial Economy Exept by full lenth leagl discussion to Preserve the Intrergrity of the
Grand Jury System _in which the Judge Carpenter in Violation of interpetion to Pennsylvaina Law of

Grand Jury in not Inpanaleing Grand Jury as set forth by Suprme Court Order. See Id =====

AFFIDAVITE by Thomas E. Carluccio AS SWORN TO AND SUBSCRIBED One N DATE OF 17, OCTOBER,
2014

AffiDAVITE by No.

(2) Memorandum prepered by William Davis Esq. Deputy Attorney General and assigned Procecutor to

the 29 th Investigating Grand Jury in which the Memorandum was subswqently reviewed and delivered

to unauthorized persons, including members of the Press

(3) Recorded and Transcribed Statment of Special Agent Michael Miletto Pertaining to his activities
and knowledge of particulars associated with Subjuct Matter of the 29 th Invesatigating Grand Jury was
subsequntly Reviwed and delivered to an unuthorized Person including member of the press.

(4) for purposes of this Affidavit i thomas E. Carluccio define the aforesaid Memorandum, and
Recorded and Statment to be collecctively referanced herinafter as “ Confidential Records “ and are

Subject to prohibitions on their singular and collecctively disclosure to third persons by operation of 42
Pa. C.S. # 4549(b)

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(5) the Confidential records contain information which clearly identifies facts , witnessses ans wvents
whcich are prart of the 29th invesatigating Grand Jury, all of whcich deemed part of the sealed record of
such Grand Jury , and as suh is secret and confidentail, subjuct disclosure upon application to the

appropriate overseeing court.

(6) any disclosure of Confidentail Records or information thereto to unau person may represent
criminal act (s) under 42 pa C. S. # 4549 (b) and or 18 Pa.C.S. #5101.

(9) the purpose in seeking the testemony of Attorney General kane unde the subpoena is to
determine if Attorney General Kane maintinas direct of inferential information on matters pertaining to
the unauthorized disclosure of the existence and_ contents of the Confidentail Information to
unauthorized third person " press or General public "

( 12) the long Affiant herby states that the service of suvpoena upon Attorney General Kane for her
testimony is warranted under the circumstances, represents a good luck for Judge Carpenter Arristing

officer

onthe Date of 17, October 2014 - Judge William R. Carpenter Lack a jurydiction to Act as Supervising
Judge becuse His Term was Terminated on Date of June, 2014 thereafter AFFIDAVITE by Thomas E.
Carluccio AS SWORN TO AND SUBSCRIBED On the DATE OF 17, OCTOBER, 2014 is Void and denied

the Commonwealth VS. Partick R. Reese
Police Case Complainat / Incident No. # 2015- 1173

D- Challenging Judge Carpentert Court Order after His term as Acting Superseded Judge was
Terminated by Supreme Court Order :

to establishment of a multicounty invesatigating grand jury to investigate into :
Attornery General Kathleen Kane Individually
Attorney General Office jegie counsel
the internal administration affairs of Office of the Attornerny General

the Office of Attorney General, Computer Program System that use to store State Record
Information.

Affidavite of Provable Cause : for issue warrant of Arrist ;
" judge Carpenter Stated that : last year, the Thirty- Fifth Statewide Invesatigating Grand Jury,

Notice #: 123 Examined the improper release of secret grand Jury Information from a Prior 2009 State

wide Invesatigating Grand Jury Invesatigation theirafter The Hanorable William R. Carpenter, presiding

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as the Supervising Judge of the Thirty-Fifth Statewide Invesatigating Grand Jury. appointed a Special
Proscuutor, Thomas E, Carluccio, Esquire.

Challenging the order Entered on may 29, 2014 by the Honorable William R. Carpenter, Supervising
: judge of the Thirty-Fifth Statewide Investigating Grand Jury, extended His Invesatigation to Previous
29 Statewide Invesatigation Grand Jury which involved with the Mondesire matter six years

ago, dated to "2009."

J- 17- 2015 In the Supreme Court of Pennsylvaina Middle District

By Saylor, C.J, Eakin, Baer, Todd, Stevens, JJ.

In Re: the Thirty - F ifth Statewide Invesatigating Grand Jury No. 197 MM 2014

Petition of " Attornerny General Kathleen G. Kane Argued: March 11, 2015

Opinion Announcing the Judgment of the Court, Mr. Chife Justice Saylor Decided: March 31, 2015

* accordance to the Special Perscutor [ the implication for Countinued government corruption or
serious breaches of grand jury secrcy ] ,

* It is respectfuly asserted that the conflicts of interest so clearly associated with the [ Office of
Attornerny General conducting an invesatigation of itself on Matters pertaining to violatioins of grand
jury secrecy represent a position which is irrelevant ]

Finally, We differ with Attorney General Kane's position that a distinction should be made between
current, prescedent breaches _ and historical breaches of grand jury secrecy both are equally affornts to

the dominant and ongoing requirement of confidentialy which supervising judges are charged with
enforcing.

GRAND JURY INVESATIGATIN INFORMATION RECORD
A- CURRENT - PRESCEDENT INFORMATION RECORD
B- HISTORICAL INFORMATION RECORD

referance Supreme Court Copy: Copy attachment # 1101

*** prior Court cases Referanced from pierior Court Opnion
should taken in Concederation that when the Law Perviosion Had
been Expire theirfor the Judge should not relied on Expire Law
Statue's referanced in Court procceding, Judge Opnion and Oreder
will be inforced by law inforcement Officer which lead to
Demenesh Citizen Right, Judge Opnion and Order needed to be
infoced based on a law Staue as the Court Used the Querter
sestion Court and its Special Master no Longer Exist after North

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America Declaration of Indendance from England ( Britain)in july
4, 2015. See Id. Attachment Liberty Train.

the Due Prosess of law by Judge Opnion, inforced into Order by
the Court in Pennsylvaina must be Beased on Court Juridiction,
where the Crime had taken Place in the State of Pennsylvaina,
the Juridiction is inforcement by the Law Statue Authorised
[O]nly by Pennsylvaina elective General Assembly, whom Granted
Authoirity to Autor all inacting Law Statue, shall saved into
State Regestary Systeme Perviosion by pervision , theirfore the
rfeferance to law Statue interpatation from other State than
Pennsylvaina or the Referanced to law Opnion From a Court Judge
in other State rauther than Pennsylvaina State law Statue is
Violatioin to Pennsylvaina Constitution Law which Stated that
the Pennsylvaina General Assembly is the only Author of Law in
State of Pennsylvaina but not from other States Author
,theirafter, Supreme Court Opnion when it depended on other
State Law Author than Pennsylvaina State is violatioin to
Pennsylvaina State Constitution V Section 2

Pennsylvaina State General assembly Aritcle II

Pennsylvaina Attorney General Act Article IV section 4.1 & 205
Pennsylvaina Invesatigating Grand Jury Act P.L 1148 No 271
Pennsylvaina Criminal Information Record Act. section 208,é&Chria
Pennsylvaina political Powers Artical 1 section 2

See Id attachment # 333

" the work of Special Prosecutor Culminated in a Grand Jury
Presentement recomanding the filing of criminal charges afainst
Attorney Genral Kane " See Id [ J -17-2015] Supreme Court
Opnion Decided March 31, 2015

1- Grand Jury never inpanaleing as Order from the Supreme Court
under its Parameter's Must be done by the Court Administration.
2- Grand Jury Presentement is done by the Special Proscecutor
rather than Grand Jury violatioin to Supreme Court Order
parameter's Order in Which no Grand jury inpanaleing found in
file in Court record.

3- see other violatioin

kkk KKK KKK

in a 4-1 desision, the ourt Opnion judges have full legal
authority to appionted special prosecutors to invesatigate leaks
from grand Jures Evern a Historical Information.

*See Id [ J -17-2015] Supreme Court Opnion Decided March 31,2015

Supereme Court Desision in upholding Judge Carpenter Court Order
to appinted a special prosecutors to invesatigate leaks from
grand Jures Evern a Historical Information had Violatioin to
Pennsylvaina State Constitution, in Contrary and ilRelevant to

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Pennsylvaina Law Statue as explaning

Judge Carpenter Opnion and Supreme Court Opnion violation to
Pennsylvaina Statue of the Criminal History Records Information
Act ("CHRIA") Unit to perform the duties legislated by the Act
and delegated to the Attorney General by Chapter 91 in which
Judge Carpenter Object to inforced and Supreme Court unlawfully
Uphold Judge Carpenter Opnion.

"yrotected information.” The Regulatory Compliance and Intelligence Section of the Office of Attorney
General has specific authority through the Criminal History Records Information Act ("CHRIA") Unit to
perform the duties legislated by the Act and delegated to the Attorney General by Chapter 91

Administration of Criminal Justice BY the collection, storage, dissemination or

usage of criminal history record information INCLUDING:

Audit -The process of reviewing compliance with applicable Federal and State laws and regulations

related to the privacy and security of Criminal History Record Information - Information collected

Judge Carpenter Opnion and Supreme Court Opnion violation and unlwful exercise Authoirity in Court
Opnion without Concederation to Pennsylvaina Statue :

1.4 What is Criminal History Record Information (18 Pa. C.S.A. §9102)

Criminal History Record Information is information collected by criminal justice agencies concerning

individuals at the initiation of a criminal proceeding and at the Final Disposition - Information indicating

that criminal proceedings have been concluded,
- including information disclosing that police have elected not to refer a matter for prosecution,
- that a prosecuting authority has elected not to commence criminal proceedings

- or that a grand jury has failed to indict and disclosing the nature of the termination of the
proceedings.

the Historic Invesatigating Grand Jury information of 2009 " Mondesire Case" Ali Matter" are
procceding in accordance to Criminal History Information Record Act "CHRIA“ under the Jurydiction of
the attorney General Kathleen Kane and the Office of Attorney General Employee had inforcabilty to
inforced the Act and its perviosion as inacted by Pennsylvaina General Assembly in which Judge
Carpenter and Supreme Court Opnion had invoked .

See ld. Presntment ( 35 Grand Jury ) Page # 6 of 27

Deputy Attorney General Beemer, Who testiffied he reviewed the 2009 Memorandum and the
Information during the meeting, He determined that the conderns of Agent Miletto wre not wothy of

attention, He acknowledged that there was no ongion criminal investegation of Mondesire, as
warranted by the concederation reached by the 2009 Grand Jury, and there were issues with bringing
chareges aginst Mondesire due to the applicable statute of limitions. i will caled a " dead case "i mean,

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it was a grand jury invesatigation that as i understood it for whad led to one arrest , the individual this
Jerome Mondesire, had not been charged with anything.

PROTECTED INFORMATION

2.1 Protected Information (18 Pa. C.S.A. §9106)

Section 9106 of the Act pertains to protected information and automated systems.

While this information may be compiled in conjunction with the investigation and prosecution of
individuals engaged in criminal activity, the method of collection and dissemination is distinct

from the collection and dissemination of criminal history record information.Protected information,
compiled in and out of automated systems, is the general description of specific categories of
information, namely intelligence, investigative and treatment information.

* As a general rule, intelligence, investigative and treatment information should not be collected in the
central repository because this type of information is considered protected. The prohibition does note

preclude the collection in the central repository of names, words, numbers, phrases or other similar
index keys to serve as indices to investigative reports.

Protected information is basid on the law perviosion No. 2.3 Dissemination of Protected Information
(18 P.S. §9106) in whcih Judge Carpenter and His Spencial Proscecutor_ Thomas E. Carluccio never
inolmenting and fraudly accusing the attorney General and Her Office as explaining :

2.3 Dissemination of Protected Information (18 P.S. §9106)
Dissemination of protected information is permitted when:
1. An authorized intelligence officer determines that the information is reliable

.2. The requesting agency has policies and procedures reviewed or adopted by the Office of Attorney
General in consultation with the Pennsylvania State Police. (See Attachment 1, Sample Policy and
Procedures for Dissemination of Protected Information).

a. The agency must appoint an intelligence officer.

b. The agency must adopt technical and physical safeguards, including an audit trail for tracking the
disseminated information.

c. The agency must label information to indicate level of sensitivity and confidence.

3. The information must be requested in connection with the agency's duties and based on an

identifying characteristic. (See Chart 4, Dissemination of Protected Information).

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If an intelligence officer is notified that previously disseminated intelligence information is misleading or

unreliable, the information must be corrected and the recipient(s)} must be notified of the change in

either automated or manual systems.

3.2 Disposition and Criminal History Record Information
(18 Pa. C.S.A. §9113)

All criminal justice agencies must submit to the central repository reports of dispositions occurring
within their agencies for criminal history record

information. This must be done within ninety (90) days of disposition as outlined in Section 9113 of the
Act and as shown on Chart 7, Final Disposition.

4.1 General Regulations (18 Pa. C.S.A. §9121)

* The Act only obligates criminal justice agencies to disseminate criminal history record information

contained in their own files, and this fact should be included in the Notice of Dissemination. (See
Attachment 4, Sample Criminal History Record Information Notice of Dissemination).

All criminal justice agency repositories of criminal history record information must inform the public and

post a notice in a public place of the existence, purpose, use, and accessibility of the criminal history

record information they maintain. The notice shall also state the agency's identification

Judge Carpnter Opnion violated law Perviosion No. 4.1 General Regulations (18 Pa. C.S.A. §9121) and

unlawfully accusation to Kane and the Office of Attorney General Empolyee as explaining above.

**4 2 Expungements (18 Pa. C.S.A. §9122)

Expungement of criminal records is covered by Section 9122 of the Act (see Chart 9, Expungements).
Most of the confusion arises as a result of the variety of interpretations given to the meaning of an
expungement order and the execution of that order by the appropriate agency(ies).

Rule 9017 of Title 234 - Rules of Criminal Procedure - outlines those points to be covered in an

expungement order

* Criminal history record information shall be expunged in a specific criminal proceeding when:
1. No disposition has been received or, upon request for criminal history record information,

2. No disposition has been recorded in the repository within eighteen (18) months after date of arrest.
The court of proper jurisdiction must certify to the Director of the repository that no disposition is

available and no action is pending.

all the Procceding are done by Attorney General Kane and Office of Attorney General in accordance to
law Perviosion No, 4.2 Expungements (18 Pa. C.S.A. §9122)

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in which Deputy Attorney General Beemer, Who testiffied to the Special Proscecutor Thomas Carluccio
but Thomas Caruccio Lack understanding to interpatation of Law and he performs his own wrong
conclusion, contrary to law perviosion and violatioin to Peace and dignty of Pennsyivaina General

Assembly.

See Id. Presntment ( 35 Grand Jury ) Page # 6 of 27

** 7.1 Right of Access and Review (18 Pa. C.S.A. §9151)

Any individual or his legal representative has the right to review, challenge, correct and appeal the
accuracy and completeness of his criminal history record information.

Judge Carpenter violatioin to 7.1 Right of Access and Review (18 Pa. C.S.A. §9151) by not inpimenting its
perviosion as inacted.

** 7.4 Challenge to Accuracy (18 Pa. C.S.A. §9152)

The individual may challenge the accuracy of his or her criminal history record information by specifying

which portion of the record is incorrect and what the correct version should be

7.5 Review of Challenge (18 P.S. §9152)

All criminal justice agencies have sixty (60) days to conduct a review of any challenge and shail have the

burden of proving the accuracy of the record. If the challenge is valid, the appropriate officials must

ensure that:

Judge Carpenter violatioin to_law statue Perviosion 7.5 Review of Challenge (18 P.S. §9152) for not
inpanaleing insted he unlawfully isue a court Order and fraudly accusation to Attorney Genral Kand and
fulse Arrest Court Order to Her Chife of Police protection Patric Rocco Reese in which Judge Carpenter
doesn't have any Right to Act as Superving Judge or issue a Court order after his job as Acting Superving
judge had been Terminated by Order of Supreme Court Parameter's

7.6 Appeals (18 Pa. C.S.A. §9152)

(1) If the challenge is ruled invalid, an individual has the right to appeal the decision to the Attorney
General within thirty (30) days of notification of

the decision by the criminal justice agency.

(2) The Attorney General has the authority to conduct administrative appeal hearings in accordance with

the Administrative Agency Law.

(3) The decision of the Attorney General may be appealed to the Commonwealth Court by an aggrieved

individual.

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implementing the addition of section 4.1 to Article IV of the Constitution of

Pennsylvania; establishing the Office of Attorney Generalelected by the citizens and setting forth powers
and dutiesof the Attorney General; creating an Office of GeneralCounsel and providing for legal services
for Commonwealth agencies

(3) It shall be the duty of the Attorney General to uphold and defend the constitutionality of all statutes
so as to prevent their suspension or abrogation in the absence of a controlling decision by a court of

competent jurisdiction.

Section 205. Criminal prosecutions.

(7) Indictments returned by an investigating grand jury obtained by the Attorney General.the
Commonwealth. Section 206. Law enforcement and criminal investigations; investigating grand juries.

(b) Investigating grand juries.--The Attorney General shall convene and conduct investigating grand
juries as provided in the act of November 22, 1978 (P.L.1148, No.271), known as the "Investigating
Grand Jury Act."

CHAPTER 3
OFFICE OF GENERAL COUNSEL
Section 301. General Counsel.

There is hereby established the Office of General Counsel which shall be headed by a General Counsel
appointed by the Governor who shall be the legal advisor to the Governor.

Section 303. Supersession and intervention.

(a) Representation of agency by General Counsel.--Whenever any action is brought by or against any
executive branch agency, the Governor or other executive branch official, the Governor may request in
writing, setting forth his reasons,

the Attorney General to authorize the General Counsel to supersede the

Attorney General and represent the agency, the Governor or other executive branch official.

The Attorney General shall at all times continue to represent the Commonwealth.

even if the Supreme Court is Suspended Attorney Generla Kane, The Attorney General shall at all times
continue to represent the Commonwealth.

No Right Granted to General Assembly to Inpeech Attorney General other wis, the Attorney General be
under the inperation of a Certen political Party in which the Magorty Can challenging the case law in
sted of Law and Order in accordance to Pennsylvaina Constitution as Articailated , no Longer Grandted
the Right to issue Sopina, to future Attorney General only thorght wrinten and only by Supreme Court
file and permiseion, no Right Granted to Common Please Court to issue rite to inforced on the Highest
Law Authoirity in Pennsylvaina and the Protector to Law due to Her imunity By Law and Order .

ROOK OK RR IO aR KRG KKK OK SOROS IGRI ORG ICG CK 3 4 a ak

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-on December 19, 2014, this Court made an invesatigative referral to Montegomery County District
Attornerny Risa Vitri Ferman includeing Grand Jury's Recommendation that criminal chareges be filed
against Attorney General Kathleen G. Kane

Violatioin no Right for Judge Carpenter to issue any Court Order after His Acting as Grand Jury
Superseded Judge had been terminated by Supreme Court on Date of June,2014 theirafter any Court
Order By Judge Carpenter is Dinaid and Void.

Judge Carpenter issued Disclosure order permiting District Attorny Risa Vetri Ferman to use information
Gathered in 35 Grand Jury Notice # 123

Judge Carpenter violatioin to Supreme Court Parameter 's See | d # for inpanaleing the 35 Grand Jury,
since thier wasn't any Grand Jury inpanaleing then where notice # 123 Come From ! if their no Grand
Jury then Judge Carpenter issue to Notice # 123 by Himself in Violatioin to Grand Jury Act 42== and to
Supreme Court Order furthermor Judge Caprpenter fulse, and Furad inpanaleing to Grand Jury ===

thereafter no Right Granted to Judge Carpenter for issued Disclosure order permiting District Attorny
Risa Vetri Ferman is Void and Denid

Pursuant to a sealed search warant serced upon the Office of Attorney General issued by Judge
Carpenter in Violatioin to Suprmer Court Order parameter's for his term to Act as Superseded Judge to
35 Invesatigation Grand Jury had been Terminated on June, 2014 thereafter no Right Granted to Judge
Caprpenter to issue Seach Warant upon the Office of Attorney General is Fulse and Denid.violatioin by
Judige Carpenter who Lack a Jurydiction due to to His job termmination on June, 2014 theirafter no
Right to issue of Arrest warant on Partick R. Reese for lack of Jurdiction after Carpenter Job had been
Terminated on June, 2014

attachment (A)

On August 27, 2014 Judge william Carpenter issued a protective order under 18 Pa. C. S. #A4954.
is Denid based on Judge Carpenter Termintion to Act as Supervising Judge after June, 2014.

he Thirty - Fifth Statwide Invesatigating Grand jury

Pursanunt to 18 Pa. C.S. 3 4549 ( relating to protictive oreders )

order No. 3. no copy to Grand Jury Testimony shall be be given to the Attorney Generral Office.
violatioin to Pennsylvaina Criminal Information Record Act “ CHRIA "

order no. 7 the Contents of this Order are sealed , and shall not be discloced ( either verbally or in
writing ) by the Office of the Attorney General

Violatioin Explaining in Details See Attachment #

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SEALING ORDER

attachment Order of August 27, 2014 be filed under seal with the clerk of Court of Montegomery
Countyl

Violatioin No right to filed Order under seal or over seal due to Judge Caprpenter Lack Autorities to
Filedi Court Order in Montegomery County Common Pleas Court as acting Supersing judge due to
termination of his Job on June, 2014

until further Order of this Court by William R. Carpenter’ Supervising Judge. no Right Granted to issue a
Court Order after His Job as Acting Supervised job had been terminated on june, 2014

Judge Carpenter Letter May 29, 2014 send to Castille the Chief Justice of Pennsylvania Supreme Court,
instated that Enclosed Judge Carpenter’s Order to appointing a Special Prosecutor to investigate an
allegation that secret Grand Jury information from a prior Grand Jury was released by someone in the
Attorney General’s Office and Carpenter’s ask Supreme Court Judge Castille to Call him if he would like
to discuss this matter further and also Ask Honorable Castille to advise Carpenter if he in error or have
exceeded his authority as the Supervising Grand Jury Judge------------------ (see EXHIBIT Letter May 29,
2014 )

VIOLATION

no Right permited in Unauthorized open Chanel of Comunication bettween Common Pleas Court Judge

"Carpenter " and Supreme Court Judge in Procceding the Attorney General Case and also there is no

meassage, phone, letter allow. Supreme Court Parameter's was toOpen Invesatigation Montor by
Justice Judge aginst Law violatioin, in which Judge Carpenter violated the Law insted of Save Garded.

Judge Carpenter violated the Unified Court System in Seperation of Order between Judge's in each
Court Level within Pennsylvaina Court System. Furthermor judge Carpnter violatioin to law of apeal
for imporipier contact and Comunication with Supreme Court Judge, in which the case and allegation
finaly will be tray by the Supreme Court thereafter No Right Granted to Judge Carpenter to Take about
aa Case law while still pending in Court.

the Letter Send to Judge Carpenter by £. Marc Costanzo Chef assistant District Attorney, Frand G. Fina
Assistant District Attorney from the Office Of Philadelphia District Attornerny is unlawfully without the
knowledge and Aprobal by the District Attornerny R. Seth William First, No Right of open Chanel of
Governmenter Comunication bettween Participante without the permiseion for Call Number and
Referanced to file aproved by the Head Officer in Charge and Must be Recorded .

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but Carpenter Opinion December 30, 2014 in the Supreme Court of Pennsylvania Middle District Stated
that:

in re Dauphin County, 19A. 3d ar 504. A preliminary review by the common pleas court judge verified
only the existence of the emails that were exchanged between the reporter and a member of the
District Attorney’s office during the time the grand jury was conducting the relevant investigation. it was
based upon this review that the common pleas court Judge appointed a special prosecutor to
investigate the allegations of grand Jury leak. Id ( see EXHIBIT---- PAGE 3)

IN THE COURT OF COMMON PLEAS
MONTGOMERY COUNTY, PENNSYLVANIA

IN RE: : SUPREME COURT OF PENNSYLVANIA
: NO. 171 M.D.D MISC, KT 2012

THE THIRTY-FIFTH STATEWIDE — ; MONTGOMERY COUNTY COMMON PLEAS
: M.D. 2644-2012

INVESTIGATING GRAND JURY
NOTICE No # 123

TO THE HONORABLE WILLIAM R. CARPENTER, SUPERVISING JUDGE:

PRESENTMENT No. #20

if no Grand jury ever inpanaleing as Mandated by Supreme Court Order, then the Issue is with
Presentment No # 60 Who Addresed to Judge Caprpenter as been writen

"To the Honorable William R. Carpenter, superving Judge." Who Send the Presentment , and who Sing

the Presentement theirafter !

judge Carpenter need to Answer this Question to the Attorny General Kane and to the Supreme Court

Justice too .

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We, the Thirty-Fifth Statewide Investigating Grand Jury, duly charged to inquire ito offenses.
against the criminal laws of the Commonwealth, have obtained knowledge of such matters from witnesses
swom by the Court and testifying before us. We find reasonable grounds to believe that various

violations of the criminal laws have occurred. So finding with no fewer than twelve concurring, we do

 ——~

Foreperson — The Thirty-Fifth Statewide
Investigating Grand Jury

hereby make this Presentment to the Court.

DATED: The [§ day of December, 2014

WE, the Thirty-Fifth Statewide Investegaating Grand Jury if ther is no Grand jury then;

" by whom was the word " We" refering to in the thirty- Fife Statewide Invesatigating Grand Jury if no
Grand Jury was inpanaleing and Which witnesses sworn by the Court and Testifying berore the Grand
jury ! if their is no Grand jury, the Court under Judge Carpenter is a Fulse Court of Record and Fruad
Singing by Judge Carpnter Order becuse their was no Grand Jury ever inpanaleing as Supreme Court
Directed in Parameter's for the Court Administration to Provid for the Jury thereafter Judge Carpenter

is;
Commting Perjury, 18 Pa C.S.A. $ ===
False Swearig 18 Pa C.S.A. $ 4903

Secound Judge Carpenter Authority is for overseeing Invesatigating Grand in gathering infrmation under
Jurydiction of Supreme Court Order in a mandaatory Order requesting that the Grand Jury be Choosen
ina Certin Number under the Authorised of Court Administration, Directing to overseeing the
inpanaleing of the Grand Jury as stated in Suprme Court Order Parameter's , in which Judge Carpenter
Had violatioin by not permited the Court Administration to Call and Provied for the Grand Jury .

in the Court of Common Pleas Montegomery County, Pennsylvania CP- 46 - MD - 0000926- 2012
for the Order undersingned Panel by juge William R Carpenter, Judge Richard P. Haaz, and Judge Willam
T. Nicholas from RE: the thirty - five Statewide Investegating Grand Jury on DATE of April 27, 2015

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Judge Carpenter violatioin to Supreme Court parameter's which not perminted Judge Carpenter to have
have any legale Authority to Inpanel Three Judges, Judge Carpenter violation to Supreme Court Order as
mandated on (2 ) second requirment by Parameter Juridiction Granted for Judge Carpenter may
temporarily designate another Judge who have been appointed by the Supreme Court as Supervising
Judge to act as Acting Supervise Judge when he is absent or otherwise unavailable thereafter Judge
caprpenter had Violatioin to Superme Court Order in inpanaleing All Montegomery County Public
Government includeing the Three Judge's not Permited and Denid.

in the Supreme Court of Pennsylvaina

Middle District

in Re: the Thitry- Fifth Statewide : No. 197 MM 2014
investegantion Grand Jury

Petition of : Attornery General

kathleen G. Kane

Opnion

Carpenter >March 4, 2015

i agree with the Special Proscecutor requesus t that certain materials be nsealed or ata
mininum disclosued to the Pennsylvaina Superme Court prior to argument on March 11, 2015

Disclosure is nexessary in order to rebut certon arguments which are not founded on the true
facts disclosure is necessry out of the fundamental necessity for a fair argument.

by the Court:
William R. Carpenter
Supervising judge of the thierty - fifth statewide invesatigating Grand Jury

Judge Carpenter Violatioin to [ []ssue Court Order on March 4, 2015 after His Term is
Terminated as Acting Supervsing Judge to Grand Jury on June, 2014 theirafter his
Opnion is Void and Denid

also Judge Carpnter Can't inforced not to Disclosued or to disclosued or put limitation
on disclosued information to Superme Court, Furthermor all Court disclosure are set by
State of Pennsylvaina Criminal History Record Information Act Chapter 91 of the Crimes
Code of Pennsylvaina and 18 pa. C.S. A. 1901 et. seq., 1980 Citeas: "Chira"

PAK IKK HICK KKK KK KRHA RTA I IR IRI IR SE HIIGR EH DE IRR EIKKEIKHIKEK ERE REKEE IR ER AE KE

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in the Supreme Court of Pennsyivaina
Middle District
in Re: the Thitry- Fifth Statewide : No. 197 MM 2014
investegantion Grand Jury
SEALING ORDER

AND NOW, this 4th day of March, 2015 it is Hereby ORDERED that the attached
Opinion be filed under seal with the Supreme Court of Pennsylvaina until further Order of this
Court .

by the Court
William R. Carpenter
: Supervising Jury

Violatioin no Right for judge carpenter Jurdiction to issue a Court Order after His term to Act
Supervising Had expired by Order of Supreme Court on June, 2014 thereafter His Order is Void
and Denied.

IN THE COURT OF COMMON PLEAS MONTEGOMERY COUNTY, PA
IN RE: Supreme Court of Pennsylvaina

No. 197 M.D.DV MISC. KT. 2012 the
THE THIRTY-FIFTH STAATEWIDE Montegomery County Common pleas

INVESATIGATING GRAND JURY M.D. 2644 - 2012

ANSWER OF SPECIAL PROMSECUTOR
TO THE MOTION TO FILE UNDER SEAL THE QUO WARRANTO ACTION

of Attoreny General Kathleen G. Kane, INDV.

2- it is admitted that all proceedings associated with
the Thirty- Fifth Statewide Investegating Grand Jury together with pleadings presented to

both the court of Common pleas, Montegomery County, Pennsylvaina

and this Honorable Court" the Superme Court"

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Investigating Grand Jury are under Seal - i t is denied that in the public interest all such
pleadings should be under seal

Special prosecutor advocates that such pleading be made available to the pbulic

Whererfor, the Special Procecutor advocates that the Montion to File under Seal the Quo
Warranto action

Violatioin to Suprme Court parameter's in Which no Grand Jury ever inpanaleing by Court
Administration theirafter the Motion by Judge Carpenter is Void and Denid. furthermor any Court
order issue by Judge Carpenter after His term is end on Date of June, 2014 is Void and Denid .

RIKKI ERE IRAE ER EEEKEE KEKE KRRRK

** Thomes Carluccio, Special Perscutor Instated in His Court
Statment that:

The Thirty- Fith Satewide Investigating Grand Jury thereafter
proceeded in conducting Investigations pursuant to submission
from the OAG.after the grand jury had been in session for more
than one year.

Fulse and Fraud by the Special Proscutor, Attorney General
Kathleen Kane Nor Her Desginated ever Grant a Submission to
Procceding after the Term of 35 Grand Jury Invesatigation Had
been expire. No Court Ducouments on File founded to
Support Thomas Carluccio Claim. See Id. # =======

Charges aginst Thomes Carluccio, Special Perscutor

1- Perjury - 18 Pa.c.S. $ 4902

"if in any official procceding he makes a false statement under
oath believe not to be true "

2- False Swearing - 18 Pa.C.S.A $ 4903

Thomes Carluccio commited the crime of lalse swearing when he
makes a false statement under oath in writen and signture on a
Court record file

3- Obstructing the Administration of Law or other government
Function - 51 Pa.C.S.A $ 5101

A person commits a crime if they intetionally obstruct, impair
or pervert the administration of Government.

** Thomas E. Carluccio, Esq. as Special Prosecutor to the Invesatigating Grand Jury No. 35 appointed by

the Pennsylvaina Supreme Court. violatioin Suprmen Court never Appointed Thomats E. Carluccio as

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Special Procecutor, thier is No Court file found to Suppot Claim by Thomas E. Carluccio, Esq. as Special
Prosecutor.

Charges : Fraud and Fulse Claim

EHXIBIT # 1-7-2015

HAKKAR RK KIKI IRR IKE AER IERERERERAER

Police Criminal Complaint incudent number 2015- 1173 dated filed 08/06/2015 by Montgmery judge
William R. Carpenter, Pennsylvania Common Pleas court 38-1 in Commonwealth of Pennsylvania V.
Patrick Rocco Reese for violatioof n Protectiveorder issuede on 27 day of August, 2014 in instractions
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before the grand jury or Supervising Judge , exhibits or other information pertaining to the special
prosucutor

Judge Carpenter issued a Protective orkder under 18 Pa. C.S.A. 5 4954 “ Protective order”

on December 19, 2014, theis court made an investgation referrql to Montgomery County District
Attornerny Risa Veri the feferral involved the Thirty — Fifth Statewide Investgation Grand Jury's
Recommendation that criminal charges be filed against Attornerny General Kathleen G.Kane/ for
violation to Grand Jury's seceracy and other crime that occurred in Montgomery County.

The Date for Police Criminal Complainat file August 6, 2015

Examples of search query to gather infrmation including pricate email adress for Special Proseduter
Thomas Carluccio and also to his Hon. Carolyn Carluccio, Judge of the court of Common Plea
Montgomery County, the wife of the Special Procutor Tomas Carluccio

also Reese attempet to gather information on then Pennsylvania Supereme Court Jugde Chif Justice
Ronald D. Castille, “ Who Supervised all Statewide Investegaeing Grand Jury incliding the Thirty-fife

Affidavite of Proble Cause

Attornerny General ; the office of the Attorny General was acquiring transcript of grand jury witness
testimony ; and witnesses had been condronted as they arriced to testify and subject to intimidating
conduct.

Among the frmation obtained by the Thirty- Fithth Statwide Ivestegation Grand Jury is the audit of
notice 123 were Audit result from the Symantec Enterprise system (“Evault’} and how the due
Attornerny General Used the Coumputer prgram system, what is the system, who have access to use the
suystem

and every one job discition on the Attorny General Office and theirafter job function on the cumputer
system

Commonwealth vs. Patrick R. Reese

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Vetri Ferman to use information gathered in the Thirty- Fifth Staewide Investigation Grand Jury, Notice
# 123 to investegae the matter

the search of which they deemed to be suspicious du to the email subject lines anludded in this list is the
audit date on which viwed and the contents of the email

Based on the abobe, investegaeion blieve that Reese repeatedly Violated Judge Carpenter's order stated
that emplyees of the Office of the Attorney General shall not habe access to transcripts of proceeding
before the Grand Jury or the Supervising Judge , exhibits, or tother information pertaining to the Special
Prosecutor's investegation ( order, dated Aug. 27th, Attachment “A” ORDER” Ali Investigation”

Attornerny General Kane had secretly shoutdown Undercover sting
Ivestegation

the Special Prosecutor has issued several subpoenas to Kand Ind-
and to Her Office for expolre how secret records become public
the Panel conclude that Kane violated Grand - Jury Secrecy Rules
by leaking Invesatigative Material Furthermor the StatesGrand
Jury Chares Perjury and Contempt of Court order for a Person who
violated Grand Jury Cecrecy Rules

Pursuant to Pennsylvaina Constitution;

- declaratory judgment to defend the Constitutionality of
Pennsylvaina Admistrative Law as law body that govern all
government dministration agencies and activities in action that
includ Rule's making, adjuction or the inforcement of a Specific
Regulatory aginda for the Three Branch's in the Government.

Legisltative Pennsylvaina General Assembly who Autor the writ
of law in accordance to State Constitution

Excutive Carries out the inforcement of law Statue
by inforcabilty of its Regulation
Judicial Iterpetts Pa. Legislative Statue and Mandaatory

applies its Pervisions to individual case based
on fact of Rules of law as inacted.

**in accordance to brief he filed in February,

Montegomery County Judge Carpenter, Argued his appontment of
carluccio was completely appropriates and necssary when there is
a conflict of interest with the Attornerny General Office or the
Attornerny General Herself

** Supreme Court Chief Justice Writen that Carpenter Acted with
in his Authoirity. " there's a lot of Authoirity for Judge
William Carpenter to do what he did "

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Supreme Court Chief Justice Honarbal Judge Tom Saylor told the
Pennsylvaina press club luncheon earlier dated to Sept. 28- 2014
" Communication between State Prosecutors and Judges that appear
too Cozy can be traubling and could damage the public's
perecption of Justice System "

Perjary " Knolewdge to false Material declared in statment under
outh in Proceeding berore the Court. in Which Judge Carpenter
Declared in his Acting as Supervising Judge by Fourth after His
Term had Expire in violatioin to Suprme Court Order.

*** in fact, Saylor wrote Crpenter acted with his authoirity
prerogative in apponting the Special procecutor.

"in an interfiew, Ronal Castille, the Former Chife Justice who
Said: If you can't win on the facts and the law, We may run on
the Republican ticket, but nobody is out to get her " form
Poltic and politico and case information related to Meadia Story
and law Order. in beliving in Media, what Media point of View
and Media Reportor under which the news Reader's learn froma
Bad Resorses without the Knoledgge of Topping and or how fare
the writer meant to deluded his redear, however It's all kosher. No one is
out to get her," Castille said. but the Inquirer in an Aug. 31 Story write that;

Judge Castille who approved the frequest by Common Pleas Court
Judge William Carpenter for a Special prosucutor to look into
the issue. in wining on the facts and the law, Supreme Court
Chife Justice never approved or rite any Court Order to approved
the Special Prosucutor theirafter the Midea and the Story is a
Lie and no one is lible to its lie in Media. See attachment No.
# 555

Presintment ( 35 grand jury) page # 9 of 27

on 3/24/14, the documentes requested sought information
pertaining to the Mondesire Invesatigation, and there are legle
and ethical prohibitions to releasing invesatigative documentes
of the Office the Criminal devision, and speciliealy referanced
the imporoierty of sisclosing doccumnts developed in the
Mondesire invesatigation.

**former First Assistant King where he viced his concers that
Mondesire information could not be disclosed out side the office
due to grand jury secrecy limitation.

** in his testemony Chef Deputy Attornerny General in charge of
Appeal and Legal Services James Baker immediatley concluded that
the ducouments that wre leaked to the press wre grand jury
information subjucts to secrecy protection

Chef Deputy A.G Baker conclusion whin he testified " i concluded
based upon my reading that grand Jury information had been

disclsed

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Presintment ( 35 grand jury) page # 14 of 27

She never made an attempt to determine how a leak of Grnd Jury
information occurred on the Office of the Attorney General , a
Government Authoirity she has sworn to operate under the law

Pennsylvaina State Suprme Court Order to suspended the law
licnse of Pennsylvaina elected official : Attorny General
Kathleen Kane is consder as inforcement to remoning elected
official

"Fact and Law 2016 " even under the Suprme Court Order , the
Attornery General shall at all times continue to reprent the
Commonwealth until the end of Case See Id. Chapter 3 Office of
General Section 303 Supersession and intervention.

- a potential braeach of grand jury secrecy protected by the law
the Special Procecutor to oversee an ivestigation of any offense
realted to and illegal disclosure of information protedted by
the law.

On December 18, 2014 the Thirty- Fifth Investigting Grand Jury
issued Presentment # 60 finding resonalble grounds to believe
that Attorney General Kane was invloved in violatioin of crminal
law of our Commonwealth.

On December 19, 2014, Judge Carpenter entered an order
acssepting Presentment # 60 Finding that the determination of
the Thirty - Fifth Statwide Invesatigating Grand Jury is
supported by Probale Cause and establishes a prima facie cas
aginst Attorney General Kathleen Kane

** On Desember 30, 2014 Judge Carpenter issued an opnion
responding to Attornerny General Kane Quo Warranto Action and
explaining that His Honor's authority to appoit a special
prosector derived from this Court's interpetation and
application of pertinent statues. IN WHICH JUDGE CARPENTER
VIOLATED EACH AND ALL COURT ORDER AS EXPLAINING.

** JUDGE CARPNTER SAID: DICUSSION FOR THE APPOINTMENT of
Special Prosecutor was proper, My authoirity for the appointment
of a special prosecutor is based upon the case of In re Dauphin
County Fourt invetigating Grand Jury 610 Pa. 296, 19A, 3d 491 (
2014)

violation the Dauphin County case was during the time the Grand
Jury was Condronting the Relevant investigation indected that
the alleged investegaation is leaks and the Judge granted to
Perscuted the , but not after the Investegation Grand Jury is
ended ,the case is close and was save to file system then the

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order given for published to inform the Public in accrdance to
Pennsylvaina State law of Crminal Infrmation Recor Act " CHRIA "

Bruce Ledgwitz Duquesne University Law Professor and Constitutunal Law expert Who Said
“ther's is no right to lie , even if the government body is improprly cinsututed”

the Answer to Your Quation How the perosecutor be Inhibited in Kane Case is based on Perjery by Judge
Carpenter, who Lack of understaning the basic stracter of the court system and Law procceding ,

you can not accuse the attory General and or prejudge her if you lack the proper information.

U.S Right of Way Authoirity not Agree with Mr. Bruce Ledgwitz becuse in United States Court to prove
what Bruce Said : Must Have prove, Evedence and Witnessses plus understanding the basic Law.

2/2/ 2016

Chris Borick a Muhlenberg College Political science Professor Said that “ discretion also means Ferman
will be under tremendous pressure from the media and Republican leadership” “Political calculus seems
to favor Ferman’s pursuit of charges” “| don't think she wants to be, as a Republican, left with claim
that she was soft of Kane”

my Massage to Mr. Chris Borick , first thier is a Deferance between Poltic and the Right of Choise is
Granted by the United State Constitution since the Declaration of Independent from Britain July, 4 1776
all Seeing eye, all seeing jaw, all Seeing Justice 2016 in Number from the Start to the End 01 Computer !

PREAMBLE;
"In God We Trust "

WE, the people of the Commonwealth of Pennsylvaina, grateful to Almighty God for the blessing of civil
and religoius Libery, and humbly invoking His guidance, do ordain and established this Constitution.

Voting Right Act singed into law by United States; President Lyndon Johnson ( 1908- 73 ) on August 6,
1965 aimed to over come leagl barriers at the state and local level that prevented african American from
exersismg their right to vot under the 14 & 15 Amendment( 1870) to the United States Constitution and
voting Right act Granted in 1964 to United States Citizen Marten Luther King is inforced by Federal Law
Authority.

what Mr. Borick Said in Politico doesn't have any whight and or Gravity in Law Order and or Law
inforcment, the Right of Choise of a poltical party is Granted by election, after that no Right to political
Party in Court House, theirafter | Recomanded to have a lawyer who understanding the Law .

Lanny Davis Kane's Attorney said in Regard to;

” the constitutunal argument that a member of the judiciary cannot appointed a procecutor”

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we agree with Davis defens that Judge Carpenter declared an accused guilty not only before trail but
before indictment and He unlawfully exercise of Authoirity and His Opnion Contrary to Supreme Court
Order which He violated and never Obey .

XXXXXXXXXXXKXXXXKXXXXXXXAKKKXAXXKKAXKKKAXAKKKR

carpneter charges,
§4911. Tampering with Public Records or Information.
a) Offense defined. -A person commits an offense if he:

(1) knowingly makes a false entry in, or false alteration of, any record, document or thing belonging to,
or received or kept by, the government for

information or record, or required by law to be kept by others for information of the government;

§5101. Obstructing Administration of Law or Other Governmental Functions.

A person commits a misdemeanor of the second degree if he intentionally obstructs, impairs or perverts
the administration of law or other governmental

function by force, violence, physical interference or obstacle,
breach of official duty, or any other unlawful act,

** Presentment is a Declaration of document issued by Grand Jury
on its ownnitiative making accusation.

the Criminal Insanity is Related to Mental Condition in Which
renders for a person unable to determined Right from Wrong.

COMMONWEALTH OF PENNSYLVANIA
COUNTY OF MONTGOMERY
BEFORE ME, the undersigned, personally appeared Thomas E. Carluccio, Esq. ("Affiant”),
who upon first being duly sworn by rne, deposed upon her/his oath and stated as follows:
1. |, Thomas E. Carluccio, Esquire, am the Special Prosecutor to the 35th Statewide Grand Jury

("35th Investigating Grand Jury"), and the Affiant hereunder.

2. Memorandum prepared by William Davis, Esq. Deputy Attorney General and assigned

Prosecutor to the 291h Investigating Grand Jury- | hereby state that the 35th Investigating _ ° c <
Grand Jury received testimony from one or more witnesses that a Memorandum prepared by NSS Cy RR’

Geney L Wa Preme Cuowet 4 & ProVvel or .

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William Davis, Esq. Deputy Attorney General and assigned Prosecutor to the 29th Investigating
Grand Jury was made available within an office environment to staff and/or others, where the
Memorandum was subsequently reviewed and delivered to unauthorized persons, including
mernbers of the press

3. Recorded and Transcribed Statement of Special Agent Michael Miletto - Moreover, | hereby
state that 351h Investigating Grand Jury received testimony from one or rnore witnesses that a
recorded and transcribed statement of Special Agent Michael Miletto pertaining to his activities
and knowledge of particulars associated with the subject matter of the 29th Investigating Grand
Jury was procured by one or more persons who did not participate in the said the 29th
investigating Grand Jury, and was subsequently reviewed and delivered to unauthorized persons,
including rnernbers of the press.

4. For purposes of this Affidavit, | define the aforesaid Memorandum, and Recorded and Statement
to be collectively referenced hereinafter as "Confidential Records" and are subject to prohibitions
on their singular and collective disclosure to third persons by operation of 42 Pa.C.S. §4549(b).

5. The Confidential Records contain information which clearly identifies facts, witnesses and events
which are part of the 29th Investigating Grand Jury, all of which is deerned part of the sealed

* record of such Grand Jury, and as such is secret and confidential, subject to disclosure upon
application to the appropriate overseeing court.

6. Any disclosure of the Confidential. Recordv or information thereto to unauthorized persons may
represent criminal act(s) under 42 Pa.C.S. §4549(b). and/or 18 Pa.C.S. -§5101.

¢ 7. \t was disclosed to the 35th Investi atin

8. Further,

9. The purpose in seeking the testimony of Attorney General Kane under the subject subpoena, is to
determine if Attorney Kane maintains direct or inferential information on matters pertaining to

the unauthorized disclosure of the existence and contents of the Confidential Information
Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 38 of 87

including without limitation: (a) what persons were present at the subject staff meetings and/or
conferences; (b) whether she or others were aware of the presence of the Confidential Information
at such staff meetings and/or conferences; (c) whether she or others were aware that the
Confidential Information was at all times deemed private and confidential due its inclusion into

the evidence of the 291h Investigating Grand Jury; (d) to explore whether Attorney General Kane
maintains information to assist the Grand Jury in determining if the Confidential Information was
reviewed, copied, possessed, discussed and/or distributed among one or more unauthorized third
persons; and (e) the identity of those person(s) who impermissibly disclosed the Confidential
information to members of the press or the general public.

10. Upon reasonable information and belief, the Affiant hereby asserts that Attorney General Kane
be compelled to testify and subject herself through the issued subpoena to a reasonable line of
questioning on those issues as aforementioned, together with questions on concerns that may arise
in the development of her testimony and such testimony is proper and warranted under the
circumstances.

11. The Affiant hereby certifies that the testimony of Attorn7 General Kane is either: directly
relevant and material to the investigation undertaken by 35" Investigating Grand Jury; or upon
information and reasonable belief will lead to relevant and material information relating to the
unauthorized disclosure of the Confidential Information.

12. The Affiant hereby states that the service of a subpoena upon Attorney General Kane for her
testimony is warranted under the circumstances, represents a good-faith basis for compelling such
testimony, and that Affiant seeks such testimony for no other inappropriate basis.

13. Affiant herein verifies that the statements in this Affidavit are both truthful and correct to the best
of his knowledge, information and belief. Further, Affiant acknowledges that the statements

made herein may be subject to the,penalties of 18 Pa. C.S.A. 4904 relating to the falsification to

authorities.

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SWORN TO AND SUBSCRIBED

BEFORE ME THIS 1 DAY

OF OCT,2014

Thomas E. Carluccio, Esquire - Affiant

Special Prosecutor for the 35 Statewide Grand Jury

The Hon. William R. Carpenter

SOOO GOI IOI OIG OOOO IGOR IGOR RIGOR GIGI IC A IGK i GK i ak

Police Criminal Complaint incudent number 2015- 1173 dated filed 08/06/2015 by Montgmery judge
William R. Carpenter, Pennsylvania Common Pleas court 38-1 in Commonwealth of Pennsylvania V.
Patrick Rocco Reese for violation Protectiveorder issuede on 27 day of August, 2014 in instractions for
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The Date for Police Criminal Complainat file August 6, 2015

Examples of search query to gather infrmation including pricate email adress for Special Proseduter
Thomas Carluccio and also to his Hon. Carolyn Carluccio, Judge of the court of Common Plea
Montgomery County, the wife of the Special Procutor Tomas Carluccio

also Reese attempet to gather information on then Pennsylvania Supereme Court Jugde Chif Justice
Ronald D. Castille, “ Who Supervised all Statewide Investegaeing Grand Jury incliding the Thirty-fife

Affidavite of Proble Cause

Attornerny General ; the office of the Attorny General was acquiring transcript of grand jury witness
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audit of notice 123 were Audit result from the Symantec Enterprise system (“Evault') and how the due
Attornerny General Used the Coumputer prgram system, what is the system, who have access to use the
suystemand every one job discition on the Attorny General Office and theirafter job function on the
cumputer system

Commonwealth vs. Patrick R. Reese

Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 40 of 87

Based on the abobe, investegaeion blieve that Reese repeatedly Violated Judge Carpenter's order stated
that emplyees of the Office of the Attorney General shall not habe access to transcripts of proceeding
before the Grand Jury or the Supervising Judge , exhibits, or tother information pertaining to the Special
Prosecutor's investegation ( order, dated Aug. 27th, Attachment “A” ORDER

FRO OR RR RCI RIK KR RR aR RR Cr ick OK RR ok ok ok kK ok

Article V
THE JUDICIARY
Unified Judicial System Section 1.

The judicial power of the Commonwealth shall be vested in a unified judicial system

Supreme Court Section 2.

The Supreme Court

(a) shall be the highest court of the Commonwealth and in this court shall be reposed the supreme
judicial power of the Commonwealth;

Right of Appeal Section 9.

Prohibited Activities Section 17.

(b) Justices and judges shall not engage in any activity prohibited by law and shall not violate

any canon of legal or judicial ethics prescribed by the Supreme Court. Justices of the peace

shall be governed by rules or canons which shall be prescribed by the Supreme Court.

{d) * nor “Judges” shall any of them exercise any power of appointment except as provided in this

Constitution.

we Re se 1M6- -cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 41 of 87
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Zoho IN THE SUPREME COURT OF PENNSYLVANIA v
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vO . "anf ’
% IN RE: THE 35TH STATEWIDE INVESTIGATING GRAND JURY CoaiR i) g
ETITION oF 4 TTORNEY GENERAL KATH#EEN G. KAN ONS £2 Qo
cola “st Cio A pre | AX

4 Ps AY! BRIEF OF SPECIAL PROSELUTOR

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=a m the Order Entere¢ on Ma 29, 2014 by the D i
ie Carpenter, ge of the Thirty-Fift swipe Investigating? B ' inti
é€qd ae E. Carluccio, Esqa re as-Spai ; ‘0

ges 2 SRE oy ee Nome oe sapegined

Thomas E. Carluccio, Esquire
CVar Ree tine cadled Attomey ILD. No. #81858
Plymouth Greene Office Campus :
Ra. 0 eter 1000 Germantown Pike, Suite D-3
Plymouth Meeting, PA 19464-2484 .
% M (be Of \ GQ 20 (484) 674-2899 ey

Spar S$¥Ste Special Prosecutor of fesgaing &
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Received in | Court .

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IN THE COURT OF COMMON PLEAS
ONTGOMERY COUNTY, PENNSYLVANIA\

. . . “ a ; > = — * _

a AY We | MONTGOMERY SOUNTY COMMON PLEAS .
INVESTIGATING GRAND JURIES 0: | ee vege ytullger
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Uo LN : In Re: Powers and sata of ie iG ee
Ko vO Special Prosecutor Exercising | Aer Ws KX vf
: Extraordinary Jurisdiction; on Allegations that
.: Secret Grand Jury or Related Information was é

/ : Unlawfully and/or Negligently. 43
: Accessed/Released/Compromised - oe a ie yr vee
. po oe bet
oo, ice af eR
‘SEALING ORDER 7 BV eS
¢ ut i‘ oF, ee
~t>' .

‘the. attached _’
‘ —_—
cowl

AND NOW, this 29th day of May, 2014, it i is hereby ORDERED, that

Rae a TS Sih pects aca dt tan aoe menger Lato

Order of May 29, 2014 be filed under seal. with the Clerk of Courts of Mo

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OS: WY 62 AVHAIOZ ”

“County until further Order of this Court.

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BY THE COURT:
a : WILLIAM R. CARPE ‘TER, Th
ae are An Supervising Judge —
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The leak inquiry was only d by a The Law Daily News article in June that

drew heavily upon a 2009 internal memo prepared as part of a grand jury
investigation that summarized the status of the Mondesire probe.

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The newspaper story questioned whether top prosecutors in the office at the time,
including then-Chief Deputy Attorney General Frank G. Fina, had pursued the
rye probe aggressively.

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On March 21, five days after the Inquirer article was published, special agent
ichael Miletto gave one of Kane's supervisors a taped interview about his
involvement in that investigation, court records show.

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A transcript of Miletto's interview, as well as a 2009 memo written by then-Deputy
Attorney General William Davis Jr., then were given to a Philadelphia Daily News
corer

~"It's all kosher. No one is out to get her," Castille said.

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Castille, a Republican who just retired after 21 years on the high court, said
grand jury probes must remain secret so people investigated but never charged are
not unfairly tarred, a rule he said was violated by a leak from Kane's office.

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ane has acknowledged that she knew material from her office was given to the
newspaper, but she said her conduct was lawful and not an illegal leak. Kane
claimed she dropped the sting case because it was poorly run and tainted by race.
She claimed Fina, who is white, and another agent, who is black, had targeted black
lawmakers

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On March 21, five days after the Inquirer article was published, special agent
Michael Miletto gave one of Kane's supervisors a taped interview about his
involvement in that investigation, court records show.

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“DA transcript of Miletto's interview, as well as a 2009 memo written by then-Deputy
wJAttorney General William Davis Jr., then were given to a Philadelphia Daily News
~~ Qreporter.

Or

vy Sia an Aug. 31 story, the Inguirer revealed the grand jury involving Kane.

"confidential records." The affidavit, made public last week, listed them as a
William Davis memo and as Miletto's interview transcript.

(UC (seuer AaBorihed 0

Kane testified Nov. 17 in Montgomery County, Before entering the grand jury room,

a OB._§ Oct. 17, Carluccio filed an affidavit seeking Kane's testimony about two leaked
ah told reporters “she knew about the leak of Miletto's interview transcript, but

not the alleged leak of the 2009 memo.
n February 2013, Kane announced she cous fot Ad her Sandusky review until a

udge approved its contents. pk .
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as who approved the request by Common Pleas Court Judge William Carpenter

& 6G O

for a special prosecutor to look into the issue

Chief Justice Ronald D. Castille at the request of William R. Carpenter, a
Montgomery County Court judge.

Carpenter, we former prosecutor, presides over a statewide investigative grand jury

- one that “Pooks” ‘Into matters involving Philadelphia and surrounding counties -

that is: the successor jury to the one involved with the Mondesire matter six years
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Case 1:16-cv-00281-JEJ cume 1 Fited 02/14/16 Page 4 of 8
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reportsand all other proper activities of the Thirty-Fifth veimac™

Investigating Grand Jury, Judge William R. Carpenter, as supervising

Judge, shall\ have jurisdiction over all counties throughout the ov)
“S Commonwealth ef Pennsylvania. (See Exhibit E at {] 2.)
. he\ Thirty-Fifth Statewide Investig ating Grand_Jury_w impancied in
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January 2013. Ng Thity-Fifth State aa

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——— So eenel
Afterthe Grand Jury had been i D sessign or more‘than one year, Judge Carpenite a

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became aware of circumstances indicating tt that secretNinformation related to a “eusns4-,

upervising Judge_

previous statewide investigating grand jury had been leaked.
a ve

Carpenter was informed, by a correspondence from former Office of the Attorney

General (OAG) prosecutors, of a potential breach of grand jury secrecy. (See letter

dated May 8, 2014 from former prosecutors of the OAG to the Supervising Judge,

Exhibit F.) In response, Judge Carpenter conducted an in camera hearing on May _.

| \12, 2014. At such time, no_events known by the Supervising Judge, nor other

information before the Supervising Judge warranted more than what would be

recygnized as a straightforward investigation for contempt of court as recogniz:

under\The Investigating Grand Jury Act of 1978, 42 Pa.C.S, §4541, eq

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n view of information cine in the in camera ayneanee | seating’ Ndge Carpenter Rec Al 9 ed
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was is unable to determine the aeons Fa i eso ft De ee arias Se in Carpet

Case 1:16-cv-00281-JEJ Document 1-4 eg at 45 of 87 A

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Oo” What was, ‘ear such Fearin Toe the breach of grand jury secred

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i d publication of certain documentation relating to grand jury proceedings, /

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SO d_that such_ documentatio was believed to be in the exclusive control of the

° learly, there was no reasonable option available t to o Judge Carpenter. to
TT pi 8 teh tet RE ite I
seek assistance of the Attorney General in undertaking an investigation into the
ROE IER ro pee BEE TE TE Septal STOMA : ae oie Setar £
breach. The contliet of interest jp. having the. OAG undertake. an investigation u into
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Accordingly, it is clear that j in good-faith, judge Carpenter e embarked upon

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WV ws 0 a a Special Prosecutor for the limited purpose of investigating offenses —

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related to an alleged disclosure of information protected by law law arishiy* from ee,

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o& violations of Grand _ J

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recyr-In. furtherance of such charge, the Special

focused parameters, fad the appointed Special Prosecutor was not authorized by
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the Order to pursue investigation of other matters, in an indiscriminate manner, or
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= for an indeterminate time period.

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(Attomey General Kane in her Supplemental

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Brief suggests“ to“ “the ‘Contrary, and thereby provides the unwarranted
ES ve p,

1 The Supervising Judge would also have to consider with the appointment of a District Attorney issues beyond
simple jurisdiction, including, but not limited to, maintaining oversight, secrecy, and conflicts of interest.

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conduct himself in an unconstrained rsh

ollowing “ann camera proceeding Which established that there Al
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fh Ca mor was a leak of secret Grand Jury information,” on May 29, 2014,| Judge Carpenter G OD
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m8 co) “found that there was ‘reasonable grounds to believe that a further more

0 aan investigation’ into allegations that statewide Grand Jury secrecy may |

have been compromised was warranted, and on that date [ aa qudee Aa frit

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arpenter] appoin Sa E. scarluccio, E a is.

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D pecial Prosecutor. ” (Sef

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Prosecutor that he did

ursuant to the Grand Jury Act of 1978, 42 Pa.C.S.§ NWS

2 sponding Pennsylvania Rules of Criminal Procedure,_as SYen M
i e Court related to supervising Une) g
S dges’ appointments of special prosecutors to oversee investigations of leaks of TYeS
Vi ° le Fr arena jury information— (See Supervising Judge Carpenter’s May 29, 2014 \

Order appointing Carluccio as Special Prosecutor, Exhibit A.) The Order
specified that Carluccio was appointed Special Prosecutor for the limited purpose
of overseeing the Grand Jury’s investigation into a leak of secret grand jury
information. (See Exhibit A.) A copy of the May 29, 2014 Order was served on

the Attorney General. Jd. Throughout Carluccio’s service as special prosecutor, the

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_ 9.

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Kane, reports in news media quoting sources within her inner circle familiar with
the matter, and later confirmed by Attorney General Kane herself. Indeed, on page
7 of her Supplemental Brief, Attorney General Kane asserts that she answered
truthfully all questions of the Special Prosecutor, and admitted she allegedly
authorized the release of a 2014 Memorandum, because she believed it did not

contain confidential grand jury information.

The ‘subj ect, 2014 Memorandum effective) I resented an, interview
OE EC p50 =, EERE oo peene

aw neo efhanseript Lof a special agent t within the OAGW whe is qu a Attorney | General
it ercN Se eee Due Actor yW cha
Kane’ s direction ot 8 09 ae jury investigation, under ken n bY J ae ‘e Ze t | A

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os ad int there ¥ was 2 ie Memorandum detailing grand jury testimony and I h A| /

evidence that was publicly disclosed along with the 2014 transcript. Attorney me 3 g
Carden| le r

General Kane has advanced the assertion that she was free to release the 2014
Memorandum, because she was not an interested party to the subject grand jury

investigation due to her being a stay at home mother at the time of the 2009 grand
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jury, and additionally that she did not sign an Oath of Secrecy pertaining to the

subject grand jury, and thus had £6¢ contractually imposed upon herself an

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Title 42 - PAGRHerhl ssenttP281-JEJ Document 1-4 Filed 02/17/16 Page 48 of 87 Page 1 of 1

Pennsylvania General Assembly

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Home / Statutes of Pennsylvania / Consolidated Statutes / Title 42

Title 42 & Print

§ 323. Powers.

Every court shall have power to issue, under its judicial seal,
every lawful writ and process necessary or suitable for the
exercise of its jurisdiction and for the enforcement of any order
which it may make and all legal and equitable powers required for
or incidental to the exercise of its jurisdiction, and, except as
otherwise prescribed by general rules, every court shall have

| power to make such rules and orders of court as the interest of
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justice or the business of the court may require. , ; . (200 Selin
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Dauphin County therefore applies to the present case Presented “ko

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\ “colorable allegations or indications that the sanctity of the grand jury process ‘\

[d] been breached and those allegations warrant[ed] investigation,” Sapo ful ct Ue.

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Judge Carpenter’s a t of Carluccio as special prosecutor to investigate m
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alleged leak of secret “grand jury information was appropriate C. this Court's sti te “\
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In addition, Section 23 of the aed Code and 4548 of the Grand Fury Act
nba TREO pe 9c" > Lore Canina sare

g Ca pénter 9 appoint Carluccio as special prosecutor in this case.

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S. §§ 323 and 4548, RRR ence gee AUS rene

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Court 5 that case held that the Judge. who directed the ~  Q

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nt of a aN Cedi jury” in that ‘case AS no authority to do so. of

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in Dauphin County. Id. at 504.

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That Court’s ie ng ce prosecutors in the Commonwealth is no longer C we

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for an ndeitional period of up to six months, if, at the end of its original term, the
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eve stigating grand jury determines by majority vote that it has not completed its business. The Kt
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*s term, a luding any extension aes shall not exceed 24 months from the date it

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5 we * Bsa D Castelo

RONALD D. CASTILLE
Chief Justice of Pennsylvania

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First Assistant Attorney General Bruce Beemer, former Senior Executive Deputy Attorney General Linda
Dale ~
~ Da Motta, former First Assistant Attorney General Adrian R. King, Jr, Agent Peifer, and Chief Deputy

Attorney General in charge of Appeal and Legal Services James Barker — all of whom agreed that the
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contents of the 2009 Memorandum and information from the 2009 Grand Jury investigation were subject
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ta grand jury secrecy pro eation-Multiplewitnesses—also. testified that the release of the materials was a

clear violation of the Cringinal History Records Information Act_18 Pa.C.S.A. $9106 (CHRIA). a ~

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cr , t is noted that the 2009 Grand Jury investigation concluded without a Ht a presentment of or indictment
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and the information duking JH€ meeting and determined that the concerns of Agent Miletto were not
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__ ei ata attention, In reaching his conclusion, Chief Deputy A.G. Beemer acknowledged that

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there was no angoing criminal investigation of Mandesire, a as warranted by the conclusions reached by the
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2009 Grand Jury, and there were issues with bringing charges against him due to the applicable statute of

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“7 renrember thinking to myself 1 don't see how this is a problem for this
Administration at all. In fact, what was being described to me seemed to he
what J will call deucl cuse,” | mean, it was a grand jury investigation that as
funderstood it for what he Wels saying had led to one arrest. The individual,

this Jerome Moudesire, head fing ae chen ‘ged with aay Bd | S

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Page #6 of 27

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§ 4544. Convening multicounty investigating grand jury
Purdon's Pennsylvania Statutes and Consolidated Statutes
Title 42 Pa.C.S.A. Judiciary and Judicial Procedure
Purdon’s Pennsylvania Statutes and Consolidated Statutes
Title 42 Pa.C.S.A. Judiciary and Judicial Procedure (Refs & Annos)
Part V. Administration of Justice Generally
Chapter 45. Juries and Jurors (Refs & Annos)
Subchapter D. Investigating Grand Juries (Refs & Annos)

42 Pa.C.S.A. § 4544
§ 4544. Convening multicounty investigating grand jury

Currentness

C (a) General rule.--Application for a multicounty investigating grand jury may be made by the Attorney General to the Supreme Court.
oO In such application the Attorney General shall state that, in his judgment, the convening of a multicounty investigating grand jury is
NS necessary because of organized crime or public corruption or both involving more than one county of the Commonwealth and that, in
1 his judgment, the investigation cannot be adequately performed by an investigating grand jury available under section 4543 (relating
. to convening county investigating grand jury). The application shall specify for which counties the multicounty investigating grand jury
is to be convened. Within ten days of receipt of such application, the court shall issue an order granting the same. Failure by an
individual justice to grant such application shall be appealabie to the entire Supreme Court.

(b} Contents of order.--An order issued under subsection (a) shail:

(1) convene a multicounty investigating grand jury having Statewide jurisdiction, or jurisdiction over all counties requested inthe ,
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application by the Attorney General; Car pente yr Vt clutron (eoCauwr€ AC rs ! i
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(2) designate a judge of a court of common pleas to be the supervising judge over such multicounty investigating grand jury and (cx > S$

provide that such judge shall with respect to investigations, presentments, reports, and all other proper activities of said

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t investigating multicounty grand jury, have jurisdiction over all counties in the jurisdiction of said multicounty investigating grand Rg . Ph,
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(3) designate the counties which shail supply jurors and in what ratios;

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(5) provide for such other incidental arrangements as may be necessary inciuding the Commonwealth's share of expenses.
All matters to be included in such order shall be determined by the justice issuing the order in any manner which he deems
appropriate, except that the Supreme Court may adopt general rules, consistent with the provisions of this section, establishing (
standard procedures for the convening of multicounty investigating grand juries. * 2 : Gg +
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(4) designate a location or locations for the multicounty investigating grand jury proceeding; and

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—9) Manner of impaneling.--The multicounty investigating grand jury shall be impaneled in the manner provided or prescribed by law.

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(d) Effect on district attorneys.--The impaneling of a multicounty investigating grand jury shall in no way diminish the responsibility
and the authority of the district attorneys within their jurisdictions to investigate and prosecute organized crime or public corruption or a
both. ‘

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1980, Oct. 5, P.L. 693, No. 142, § 216(a)(2), effective in 60 days.

42 Pa.C.S.A. § 4544, PA ST 42 Pa.C.S.A. § 4544 6 ro er a cA Mirtew~

Current through 2015 Regular Session Acts 1 to 61

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ONORABLE WILLIAM R. CARPENTER, SUPERVISING JUDGE:

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PRESENTMENT No. #0,

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yen We, the Thirty-Fifth = Grand Jury, duly charged to inquire ‘Grit offenses. ~~ -

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ve a the criminal: laws: of the Commonwealth, have obtained knowledge of such matters from witnesses :

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violations of the criminal laws have occurred. So o with no fewer than twelve concurring, we do us oe

hereby r make this Presentment to ae or Z YE A Pe) WW .
RS

Foreperson — The Thirty-Fifth G__—— K 2 -)

Investigating Grand Jury A N “)

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MONTGOMERY COUNT Y, PENNSYLVANIA :

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IN RE: > SUPREME COURT OF PENNSYLVANIA — :
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THE THIRTY-FIVE STATEWIDE : wy ~ .
: MONTGOMERY COUNTY COMMON PLEAS voyk
{~ | INVESTIGATING GRAND JURY > M.D. 2644-2012 oy w »
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Ww : NOTICE NO, 123 ONS

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Qo : TO THE HONORABLE WILLIAM R. CARPENTER, SUPERVISING JUDGE; {\ yo
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Y 5 PRESENTMENT #60 : C
NR We, the Thirty-Fifth Statewide Investigating Grand Jury, authorize the Amendment i 2, C
\ of Presénunent_ # 60 to properly reflect the name & and citations to Obstructing ! S
~, Administration of Law or other Governmental Function 18 Pa, C.S.A. §5101 (pages 26,
|. 27) and Official Oppression 18 Pa. C.S.A. §53 7
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j FOREPERSON — The Thirty-Fifth Statewide Coo
i Investigating Grand wry Sia
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GOMERY COUNTY COMMON PLEAS

M.D. 2644-2012

THE THIRTY-FIFTH STATEWIDE

INVESTIGATING GRAND JURY 7
: NOTICE No # 123

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2 of SUPREMY COURT OF PENNSYLVANIA
ORDER SEALING PRESENTMENT NO. # (20 =
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The Court has accepled Presentment No # ¢ 00 . This Presentment shall be sealed and

ho person shall disclose a return of the Presentment except when necessary for issuance and

execution of process, or as otherwise directed or permitted by Order of the Supervising Judge.

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J oo ~ SPaonnuns this AM day of December 2014. 4 2 of 4
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Hon. William R, Carpenter \
Supervising Judge

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Presentment (35” Grand Jury) .
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3 ~ et ORDER ACCEPTING PRESENTMENT NO #60
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vo R&S 1 accept and approve of thé Amendments to,Presentment No #60.
KS — " SO ORDERED this 19" day of December, 2014.
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> ~ Supervising Judge

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IN RE: ee
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THE THIRTY-FIFTH STATEWIDE oan NO. 197-MIM-2014__
INVESTIGATING GRAND JURY Q A
Lo MONTGOMERY. COUNTY ~”

COMMON PLEAS
NO. 2644-2012 7

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‘DECEMBER 30, 2014

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Co QO» Fy Ma , 2014, this Court un its capacity as Supervising Judge of the Thirty-

C04 ifth crak Investigating Grand Jury, ; found that there were “reasgnable grounds to believe

a further more substantive investigation” into allegations that statewide Grand Jury secrecy may

ys
have been compromised was warranted, and on that date this Court eee Thomas E. ee o se
oo © RS KK ere
Carluccio, Esquire as Special Prosecutor. Se RS see eck a ms
Specifically, the May 29, 2014 Order followed a followed an (n ih camera n (n camera proceeding which © OS eon

a Special Prosecutor was necessary and appropriate

ISSUES

Case 1:16-¢) UPPER APD Heslment 1-4 Filed 02/17/16 Page 59 of 87

IN RE:

THE THIRTY-FIFTH STATEWIDE
INVESTIGATING GRAND JURY

PETITION OF: ATTORNEY GENERAL,
KATHLEEN G. KANE

& “
CERTIFICATE OF SERVICE yd
I, Thomas E. Carluccio, Esquire do hereby certify that a true and correct copy of the Brief of Special oY
Prosecutor in Opposition to the Quo Warranto Action of Attorney General Kathleen G-Kano-bas been filed | of | record. N OK

with the Pennsylvania Supreme Court , and a copy of which has been direct on the 18° day of February, 2015 by \) '
<=
first class U.S. Mail, postage prepaid to all parties in interest, and to Petitioner’s legal counsel vi ee Q

agreement evidenced by the email exchange accompanied hereto, as follows:

Amil M. Minora, Esq. Gerald L. Shargel, Esq. The Hon. William R. Carpenter
700 Vine Street 200 Park Avenue Court of Common Pleas of Montgomery County
Scranton, PA 18510 New York, NY 10166 P.O. Box 311

Norristown, PA 19404-0311

Thomas E. Carluccio, Esquire

Attomey I.D. No. #81858

Plymouth Greene Office Campus
* 1000 Germantown Pike, Suite D-3

Plymouth Meeting, PA 19464-2484

(484) 674-2899

Special Prosecutor of Investigating Grand Jury No. #35

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, COMMONWEALTH OF PENNSYLVANIA > 5 LN Meg) Lormation
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BEFORE ME, the undersigned, personally appeared Thomas E. Carluccio, Esg. (“Affiant’”),
who upon first being duly sworn by me, deposed upon her/his oath and stated as follows:

1. I, Thomas E. Carluccio, Esquire, am the Special Prosecutor to the 35" Statewide Grand Jury pv

& (35" Investigating Grand Jury”), and the Affiant hereunder. ~ Ri oN
‘Vt —en \ ‘)
2

Memorandum prepared by William Davis, Esq. Deputy Attorney General and assigned
Prosecutor to the 29" Investigating Gragd, Jury- I hereby state that the 35" Investigating
Grand Jury rec€ived testimony from one or more witnesses that a Memorandum prepared by 9 ( [
William Davis, Esq. Deputy Attorney Genera! and assigned Prosecutor to the 29" Investigating BQ 5
_- Grand Jury was made available within an office environment to staff and/or others, where the —_
including 9 | | N

‘JMemorandum was subsequently reviewed and delivered to unauthorized persons,

members of the pres “ We _ne~ Flof
ap dg Baer eA RK loft r
ae 3. Recorded apd Transcribed Statement of Special Agent Michael Miletto - Moreover, I hereby oy.
OF state that / 5" Investigating Grand Jury received testimony from one or more witnesses that a 7 foe Co

[- EAtens- «*récorded and transcribed statement of Special Agent Michael Miletto pertaining to his activities / oO Kult

. 3 And knowledge of particulars associated with the subject_matter_of the 29" Investigating tevend. qd dle at

Z- glo Dow Jury was procured by one or more persons who did not participate in the said the 29" _” Of me
Eo Act oydunace Investigating Grand Jury, and was subsequently reviewed and delivered to unauthorized oD A tc ¢

Ce La including members of the press. OMe S CAT rr ce\ oe”
My Ce 7 \ E \ QR ay
-4./ For purposes of this Affidavit define the aforesaid Memorandum, and Recorded ‘and Statement

t to be collectively referenced hereinafter as “Confidential Records” and are subject to prohibitions
Sums on their singular and collective disclosure to third persons by operation of 42 Pa.C.S. §4549(b).

A

pres ( — owl
Pr 5., The Confidential Records contain information which clearly identifies facts, witnesses and events . '¢
Wo which are part of the 29" Investigating Grand Jury, ali of which is deemed part of the sealed ....-7~

record of such Grand Jury, and as such is.s and confidential, subject Ja disclosure upon
application to the a late overseeing court, |, , ——— . 4 ‘Amn fe uf
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3 i
~ oe, § Any disclosure of the Confidential Records or information thereto to unauthorized persons may
aot represent criminal act(s) under 42 PaCS. §4549(b). and/or 18 Pa.C.S. §5101.
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It was disclosed to the 35" Investigating Grand Jur

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| As stated above, Attorney General Kane engaged in conduct which permitted the release of 2009

Grand Jury investigatory information which was subject to grand jury secrecy proteetion, This care

foe “Tavestigating Grand Jury heard testimony from many senior Sey toh eee OAG, both former and C5201

fee, Beptipdoe Qmiad Cashes) coer Of

resent, who stated that it was clear to them that the 2009 Memorandum and’ fiitetto, rs t

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5 Q is subject to grand jury Seer the tem 8 ) you aes W
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gat = = Woe
, WY “Attomey General Kane’s disclosure of Grand Jury infafmation constituted a breach of her official ee
IO cng Ke
one # dut and ‘ognstituled an unlawful act that impaired of perverted the administration of law or other
iP yo Le lL wa f 8
ei oO governmental function.
ue f
@ Attorney General Kane also egiimitted obstruction of justice by disclosing the Mondesire
information by violating the Cri ina History Records Information Act. c
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7" Based upon the evidence we have obtained and considered, which establishes reasonable grounds

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appropriate criminal charges as recommended in this Presentment on the following charges:
eee SY

= Perjury — 18 Pa.C.S.A, §4902 cee PF

« False Swearing - 18 Pa.C.S.A, §4903

¢ Abuse of Office / Official Oppression - 53 Pa.C.S.A, §5301 S ~)

e Obstructing the Administration of Law or ~
Other Governmental! Function — 53 Pa.C.5,A. §510]

« Contempt of Court 42 Pa.C.S. §4549

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ee (35" Grand Jury) ¢ 9 on \™ Page #2 gt 27

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SWORN TO AND SUBSCRIBED

BEFORE ME THIS

the u isclosure of the existence and contents of the Confidential Information

™ including without limitation: (a) what persons were present at the subject staff meetings and/or

of

conferences; (b) whether she or others were aware of the presence of the Confidential Information
at such staff meetings and/or conferences; (c) whether she or others were aware that the
Confidential Information was at all times deemed private and confidential due its inclusion into
the evidence of the 29" Investigating Grand Jury; (d) to explore whether Attorney General Kane
maintains information to assist the Grand Jury in determining if the Confidential Information was
reviewed, copied, possessed, discussed and/or distributed among one or more unauthorized third
persons; and (e) the identity of those person(s) who impermissibly disclosed the Confidential
Information to members of the press or the general public.

. Upon reasonable information and belief, the Affiant hereby asserts that Attorney General Kane

be compelled to testify and subject herself through the issued subpoena to a reasonable line of
questioning on those issues as aforementioned, together with questions on concerns that may arise
in the development of her testimony and such testimony is proper and warranted under the

circumstances. V/ i 0 L ate 0 A Ce +fela oS —

The Affiant hereby certifies that the testimony of Attomey General Kane is either: directly
relevant and material to the inyestig 35" Investigating Grand Jury; or upon
information and reasonable belief will lead to relevant and material information relating to the
unauthorized disclosure of the Confidential Information.

The Affiant hereby states that the service of a subpoena upon Attorney General Kane for her

testimony is warranted oder the circuinstances, represents a good-faith basis for compelling such

testimony, and that Affiant seeks such testimony for no other inappropriate basis.

Affiant herein verifies that the statements in this Affidavit are both truthful and correct to the best
of his knowledge, infonnation and belief. Further, Affiant acknowledges that the statements
made herein may be subject to the penalties of 18 Pa. C.S.A. 4904 relating to the falsification to
authorities.

Zoe

— Thomas E. Carluccio, Esquire - Affiant
Special Prosecutor for the 35™ Statewide Grand Jury

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OAR , 2014

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The Hon. William R. Camenter 9

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| | 2. Further investigation that would be we by the Special Prosecutor,
without the investigative and prosecutorial resources available to the District (a

Attorney, would be wasteful and duplicative; [ tY P QT (2

3. Attorney General Kane’s Memorandum in Response raises issues of fact and

law which are better left for determination by the District Attorney after she

NV AST Caf gompletes her investigation, and, in the event she determines to file charges

for violations of the Crime Code, by the regular criminal trial process, rather

cial Prosecutor to proceed on the charge of Indirect Criminal

BY THE COURT:

WILLIAM R. CARPENTER,
Supervising Judge

i ALM
RIGBARD p/HAAZ, J.
Judge

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WILEAAM T. NICHOLAS,

Senior Judge t gunn
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Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 e) of 87

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FILED UNDER SEAL

IN THE SUPREME COURT OF PENNSYLVANIA
MIDDLE DISTRICT

IN RE: THE THIRTY-FIFTH STATEWIDE : NO. 197 MM 2014
INVESTIGATING GRAND JURY

PETITION OF: ATTORNEY GENERAL,
KATHLEEN G. KANE

OPINION

See rem Cony
March 4,2015 2 rde v

CARPENTER J. ayvee
CARPENTER J._

| agree with t ecial Prosecutor’s request that certain materials be
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unsealed or at a paihimum disclosed to the Pennsylvania Supreme Court prior to
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argument on March 11, 2015.

Disclosure is necessary in order to rebut certain arguments which are not
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founded on the true facts. Disclosure is necessary out of the fundamental necessity for
as

a fair argument.

BY THE COURT;

be

WILLIAM R. CARPENTER ‘ J.
SUPERVISING JUDGE OF THE
THIRTY-FIFTH STATEWIDE

INVESTIGATING GRAND JURY

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Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 65 of 87

FILED

3/4/2015
upreme Court

Middie District

IN THE SUPREME COURT OF PENNSYLVANIA ThE CouRT GATED OF
MIDDLE DISTRICT
AUGUST 26, 2015
IN RE: : SUPREME COURT OF PENNSYLVANIA

NO. 197 MM 2014
THE THIRTY-FIFTH STATEWIDE

INVESTIGATING GRAND JURY

SEALING ORDER
AND NOW, this 4th day of March, 2015, it is hereby ORDERED, that the attached Opinion be

filed under seal with the Supreme Court of Pennsylvania until further Order of this Court.

BY THE COURT:

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WILLIAM R. CARPENTER, '$ J.
Supervising Judge
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/ Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16, Page 66 of 87

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jf IN ‘THI COURT OF COMMON PUBAS \

IN RE:

THE THIRTY-FIVE SLATE WIDE

INVESTIGATING GRAND JURY oe eee
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. x AND NOW, this 27th day of April, 2015, The Geand Jury Act providing that the

for sealing Presentment # 60 no longer existing, and the unsealing of Presentment # 60

having been requested;

Therefore, Presentment # 60 is ORDERED to be UNSEALED, and filed as a public

document with the Clerk of Courts. ~ 4 A
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~ BY THE COURT: oat pre

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WILLIAM R. CARPENTER, J.
Supervising Judge

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IN THE COURT OF COMMON PLEAS MONTGOMERY COUNTY, PA

SUPREME COURT OF PENNSYLVANIA

IN RE: NO. 187 M.D.D MISC. KT 2012
THE THIRTY-FIFTH STATEWIDE MONTGOMERY COUNTY COMMON PLEAS

INVESTIGATING GRAND JURY > MLD, 2644-2012

ANSWER OF SPECIAL PROSECUTOR

TO THE MOTION TO FILE UNDER SEAL THE QUO WARRANTO ACTION
OF ATTORNEY GENERAL KATHLEEN G. KANE, INDIV.

Thomas E. Carluccio, Special Prosecutor to the Investigatory Grand Jury hereby answers
the Motion to File under Seal the Quo Warranto Action filed by, Attorney General Kathleen G.
Kane, Indiv., and states in support thereof as follows:

1. Admitted in part and Denied in part. It is admitted that Attorney General Kane,
Indiv., has filed a Quo Warranto Action seeking, among other things, to quash the appointment

assertion that the said Action, and legal arguments thereunder, represents law that is dispositive

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of a Special Prosecutor to the Thirty-Fifth Statewide Investigating Grand Jury. However, any 19

to the underlying claims are denied. jo (. a fe sll x
2. Admitted in part and Denied in part. It is admitted _that a roceedings associated “2

with the Thirty-Fifth Statewide Investigating Grand Jury together with pleadings presented to

both thexCourt of Common LE and this Honorable Court, ~S

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Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 68 of 87

ail such pleadings should remain under seal, and the Special Prosecutor advocates that such

——,

3. The representation in this Paragraph 3 merely references the Attorney Verification

annexed to the Moticn, and no response is required.

WHEREFORE, the Special Proseqttor advocates that the Motion to File under Seal the

Oe —
Quo Warranto Action (and its accompany andum of Law in Support thereof) be

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fenied and that all pleadings of record challenging the establishment of the said Investigating Grand

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pleadings be made available to the public.
Jury and the appointment of the Special Prosecutor be made available to the public.

Thomas E. Carluccio, Esquire

Attorney LD. No. #81858

Plymouth Greene Office Campus sf
1000 Germantown Pike SHEDS
Plymouth Meeting, PA 19464-2484

(484) 674-2899 .
Special Prosecutor of Investigating Grand Jury No, #35 »

Page:2
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perative events underlying the subject matter of the Afotion to File under Seal the Quo Warranto

5 Action (and its accompanying Memorandum of Law in Support thereof) filed of record with the

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Court by Attorney General Kathleen G, Kane, Indiv., I hereby represent that the averments set forth in the
a
Seregin Answer to the said Motion are true and correct to the best of my knowledge, information and

= ~¢ belief. I understand that false statements herein are made subject to the penalties of 18 Pa. C.S.A. §4904

~ T relating to unsworn falsification to authorities.
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Uy Thomas : — never a Van fi.

VES li Co omas E, Carluccio, Esquire

UU Attorney LD. No. #81858 Bosadre m Co ait
~J Plymouth Greene Office Campus aad oY fio who
1000 Germantown Pike, Suite D-3 Some Cour
+ Plymouth Meeting, PA 19464-2484 wf
A 484) 674-2899 in Af Po "B20,

Speckat Prosecutor of Investigating Grand Jury No, #35

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Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 70 of 87

IN THE COURT OF COMMON PLEAS MONTGOMERY COUNTY, PA

iN RE: : SUPREME COURT OF PENNSYLVANIA
. : NQ. 176 | M.B.D MISC. KT 2042 v
THE THIRTY-FIFTH STATEWIDE; End oh RORe AN Vv

INVESTIGATING GRAND JURY
MONTGOMERY COUNTY COMMON PLEAS

_M.D. 2644-2012

CERTIFICATE OF SERVICE

I, Thomas E. Carluccio, Esquire do hereby certify that a true and correct copy of the Answer of Special

Prosecutor to the Motion ta File under Seal the Quo Warranto Action ‘has been filed of record with the Pennsylvania

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Supreme Court , and a copy of which has e directed on the 7" day of January, 2015 by first class U.S. Mail,
postage prepaid, to all parties in interest, as fo eS on oO Rian + Ow NS § we J a(\
mm ee

Arnil M. Minora, Esq. Gerald L. Shargel, Esq, The Hon. Willtam R. Carpenter
700 Vine Street 200 Park Avenue Court of Common Pleas of Montgomery
Scranton, PA 18510 New York, NY 10166 County

TT P.O. Box 314

Norristown, PA 19404-0311

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AE. § ot—

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(484) 674-2899

Special Prosecuior of Investigating Grand Jury No. 435

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Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 71 of 87

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—_— NOT FILED UNDER SEAL

IN THE COURT OF COMMON PLEAS
MONTGOMERY COUNTY, PENNSYLVANIA

IN RE: : CP-46-MD-0000926-2015
THE THIRTY-FIVE STATEWIDE
INVESTIGATING GRAND JURY

o,

ORDER
AND NOW, this 27th day of April, 2015, after copisideration of Attorney General
wera"

Kathleen G. Kane SMEMORANDUM IN RESPONSE TO THE ORDER DATED APRIL

10, 2015 AND THE AMENDED ORDER DATED APRIL 17, 2015, and after oral

argument before the undersigned panel on April 27, 2015,\ ‘ne circumstances surrounding
eer

the termination of James P. Barker, Esquire from his position in the Office of the Attorney
f

General of Pennsylvania by Attorney General Kane |s hereby referred to the District

Attorney of Montgomery County for further investigation of possible violations of the

Crimes Code! for the following reasons:

fi. The District Attorney is currently investigating the criminal charges presented

by the Grand Jury against Attorney General Kane and the termination of Mr.

Barker may well come within the scope of the District Attorney’s ongoing

investigation; |

118 Pa CSA § 5301 — Official Oppression — Presented by the grand jury

Pa CSA § 4953.1 — Retaliation Against Prosecutor

Co O') based

CPOE 16-cv-00281-JEJ Docu outs 4 nw 02/17/16 Page 72 of 87

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*s investigation into a breach of grand jury secrecy, and it has not filed any

/ papers in the present action to the contrary. The OAG is also well aware that

¥ independent counsels have customarily been appointed to investigate allegations of
XX criminal conduct by members of the OAG. A thorough review of the OAG’s
ge SY positions on the appointment of special prosecutors—both in the media and in the
Se courts—has revealed only one member of the OAG that has ever argued that in the
absence of the ICAA a special prosecutor cannot be appointed to investigate the
individuals that were covered by the statue: Kathleen Kane, in her individual

capacity.
It is telling that the OAG did not bring this Quo Warranto Action despite
having the authority to do so.'? Reed v. Harrisburg City Council, 995 A.2d 1137,

Goes 1139 (Pa. 2010). The OAG could not have done so with a straight face. Instead,

5 SK
is Quo Warranto Action was brought by Kathleen Kane the individual, not
No, Ny Attorn tomy Gene Kane, based on arguments that starkly contrast the positions of

13 After all, the Grand Jury investigation that Carluccio oversaw included testimony from several members of the

£ 4 i

OAG. All things being equal, each of those individuals—as well as the OAG— has the same interest as Kathleen Kane in
the lawfulness of Judge Carpenter's appointment of Carluccio as special prosecutor, But ail things are not equal. Kathleen _
was found to have allegedly committed perjury before the Grand Jury and
leaked secret grand jury information. This Inequality between Kathleen Kane and the members of the OAG who followed
the law likely explains why Kathleen Kane had to hire private counse! to bring her Quo Warranto Action. Getting caught
breaking the law is the only “special right or interest,” (id. ), that Kathleen Kane has apart from her colleagues and the office ;

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wma d. has the authority to appoint a special prosecutor to oversee a grand
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she heads in asking this Court.to determine that Judge Carpenter's appointment of Carluccio was unlawful.

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Copies sent on April 27, 2015 !

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District Attorney Risa Veltri Tie erman
Honorable William J. Furber, Jr., President Judge
Honorable Riehard P. Maaz, Judge ZC of "

Honorable William ‘FP. Nicholas, Senior Judge

By Electronic and Certified Mail fo:
Attorney General Kathicen G, Kane DNs
Pennsylvania Office of the Attorney General / | A

16" Floor, Strawberry Square J J ~

Harrisburg, PA 17120

By Electronic and First Class Mail to:

Amil M, Minora, lisquire
700 Vine Street
Scranton, PA 18510

Gerald L. Shargel, Esquire
200 Park Avenue

New York, NY 10166

Thomas JE. Carluecio, Esquire
1000 Germantown Pike
Suite D3
Plymouth Meeting, PA 19462

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COMMONWEALTH OF a“ NN 8. POLICE CRIMINAL COMPLAINT
PENNSYLVANIA . Pees COMMONWEALTH OF PENNSYLVANIA
GOUNTY OF MONTES _|\ eee? a VS:
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{ \ DEFENDANT: (NAME and ADDRESS):
Ls PATRICK ; ROCCO REESE
cs } / irsts Nam¢ | PIL Middle Name Last Name
) ae oo Apo
) ) 39 MEADE STREET, DUNMORE, PA 18512
C)5FetenyPénd. [1] C-Misdemeanor Surrounding States (C7 Distance:
\ (J 2-Felony Ltd. (1) 6-Felony Pend. Extradition Determ. (] D-Misdemeanor No Extradition
XO ( 3-Felony Surrounding States LD A-Misdemeanor Full [1] E-Misdemeanor Pending
%s | (7) 4-Felony No Ext. (CZ B-Misdemeanor Limited ((] F-Misdemeanor Pending Extradition Determ.
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K \)} GENDER pos 08/14/1967 | pos |addipop / / | Co-Defendant(s) [1
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\ q {-) Asian CET Black {_] Native American QE unknown J
YX ICITYS panic Bd Non-Hispanic [J unknown _
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[7 BLK (@lack) [2] ONG (Orange) (7) wrt white) fe] XXX (UnkyBald) {Cl GRN (Green) 1] PNK (Pink)
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§ | EYE COLOR (J BLK (Black) (J BLu (Blue) [4 BRO (Brown) (CJ GRN (Green) C1 cry (Gray)
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State PA License Number 21646639 | Expires: 08/15/2016
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or the Commonwealth & Approved (] Disapproved because: A 4) OY4 G Cet DE AL /
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may require that the complaint, arrest warrant affidavit, o

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be approved by the attorney for the Commonwealth prior
ee

-
(cient Attorney Risa Vetri Ferman

{Name of ine attorney for ine Comrncnwealtihy , x far Goarmmonweaith}
ee — Me A oe Loop gt { —_
. Vv 7 ONE ADT FP GS tT -~ To tr
|, DETECTIVE PAUL M. BRADBURY Canwaty pec’
(Name of the Affiant) “| (PSP/MPOETC -Assigned Affiant 1D Nu
1 tm ag a oc nN
(| of MONTGOMERY COUNTY DETECTIVE BUREAU __. PA0465200
identify Department or Agency Repr ted-and-Pelitieat Subdivision) (Police A ORI Number) |; : ,
do heré -«ctieck approptiate box) a ve Aceye Ct tee Cre. (.
1. $4 | accuse the above named efendant who lives at the address set forth above
(| accuse the defendant whoge name is unknown to me but who is described as . 4f— too.
SBA oft tt S74 AY) poe i" ot Su pPl we Me (lit L 6 (Ae (

(0 | accuse the defendant whose name and popufar designation or nickname are unknown to me and whom | have g (*

therefore desiqnated as John Doe or Jane Doe S hee se
VIDENCE TWP 7,

with violating the penal laws of the Commonwealth of Pennsylvania at [208] LOWER PRO}
AND/OR NORRISTOWN BOROUGH AND/OR HARRISBURG “(Subawsoresey —(Prace Pomnicar SubaWSTON yg

‘| in MONTGOMERY AND [46,22] __ on or about, SEPTEMBER g™ . DECEMBER 30™ 2014 = -fipoA

DAUPHIN Counly “(County Code) + {Offense Date)
°C 412A ~ Rev. 12/14 Ls pi

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ice Pjave a O07 Pee (a les> — “Page Lot —
y CLV Sy V\ iC er to ~ ~ C bey +) Vd CT CA, s we

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LA Ph vad Cea PoP 1-4 Filed 02/17/16 Page 75 of 87

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a“ om a , SS
{ \ #2 POLICE CRIMINAL COMPLAINT
“Docket Number: ( Date Filed: omnytiveScan Number Complaint/incident Number
08/06/2015 \ 2015-1173 /
t: é

First: " Middle: L ?
Defendant Name \rRIeK ROCCO Rese /

2 | ask that a warrant of arrest or a summons be issued and that the defendant be required to answer the charges ! have
made.

3. | verify that the facts set forth in this complaint are true and correct to the best of my knowledge or information and belief.
This verification is made subject to the penalties of Section 4904 of the Crimes Code (18 Pa.C.S. § 4904) relating to.

unsworn falsification to authorities. —_

4. This complaint consists of the preceding page(s) numbered 1 through 3.

The acts committed by the accused, as listed and hereafter, were against the peace and dignity of the Commonweaith

of Pennsylvania and were contrary to the Act(s) of the Assembly, or in violation of the statutes cited.
(Before a warrant of arrest can-be-issued,.an affidavit of probable cause must be completed, sworn to before the

o oe wor ww AL .
AUGUST / uO 06, 2015 o — Sa Se
/ (Date) \ (Signalure’of Affiant)
AND NOW, on trig datel PJ6U6-T 6 \ 26) \ G heey that the complaint has been properly completed and verified.

An affidavit of nova teuse must be completed before a warr ican be issued.

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A By spt “after ARE
pate of roe, 2el4 Tw Act
as Gu per Vi sing yu 6G
— Nv Auvinen ty > (nfo co
Ce | 5Su nC OLA Our order
of fe lr Tha. Ty), J. CMe neti O n”

\OPC 412A — Rev. 12/14

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f Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 76 of 87 -

Socbemngecter? a a vod ‘ j
LO : Me
‘ [J-17-2015]
IN THE SUPREME COURT OF PENNSYLVANIA
MIDDLE DISTRICT
os -~-SAYLOR »C. J., EAKIN, BAER, TODD, STEVENS, JJ.

OSE

IN RE: THE THIRTY-FIFTH STATEWIDE 3: No. 197 MM 2014
-INVESTIGATING GI Y

PETITION OF: ATTORNEY GENERAL,
KATHLEEN G. KANE

ARGUED: March 11, 2015 (tye:

XC OPINION ANNOUNCING THE JUDGMENT OF THE COURT .

TO .
Q a see

QQ MR. CHIEF JUSTICE SAYLOR DECIDED: March 31,2015 © se ir3) i

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& ene
3 \~ Through the fi iling of an action in quo warranto, Pennsylvania Attorney General
¢ .c .
3 ~~ Kathleen. {kane has asked this Court to quash the a appointment of a special
“) SSnRRar  ngs
Q prosecutor investigatin ng viola ation of apd uy seceoyieioments |
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1 In the Spring of 2014, the supervising judge for the Thirty-Fifth Statewide

SIR: sree

Investigating Grand Jury found that there were reasonable grounds to believe that an [o>
investigation should be conducted into allegations that grand jury secrecy had been = >

“compromised. See generally 42 Pa.C.S. §4549(b) (providing that jurors, attorneys, | | Se

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interpreters, stenographers, recording- device: operators, or typists shall be sworn to

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RSP and may disclose matters occurting before an investigating grand jury only
. f oC:

(/ / 3 When SO 2_ rected by the court, on pain of sanctions S for, See: The ‘supervising. . : |
; (— ——=—<—<— art z

i judge proceeded to cio, Esquire (the “ Prosecutor’), to
ro “inveS Bate ang and prosecute any ille al disclosures. The work of the Special Prosecutor
esa ee

culminated | in a_grand jury presentment recommending the ie filing of criminal charges .

against Attorney General Kane. : cs ne!

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grand jury. See id. §4548(a)./\Finally, supervising judges enjoy general powers required . -

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confronted with the problem of the temporary disqualification of the prosecuting attorney LS

have generally sanctioned the authority of the court, under its inherent power to

oy administer the judicial system, to appoint a special prosecutor. ... This appears to be

aK Y the common law rule.” (citations omitted)); Weems v. Anderson, 516 S.W.2d 895, 898

Ye (Ark. 1974) (observing that a circuit court had the inherent power to appoint a special cho
Q gProsecutor, notwithstanding the lack of specific statutory authority); State v. Ellis, 112 (ee

for or incidental to the exercise of jurisdiction. See 42 Pa.C.S. o23._ |) UBEI ES 3
Oo : ii “Ss 9
e view these provisions, collectively, as affording sufficient authorization to a C ~j CO
supervising judge — and, in fact, as creating the necessity -- to appoint a special A SSS
gC
prosecutor in scenarios in which a grand arene ay may be considering potential criminal a < WY rr
Sw A
conduct on the part of an Attorney ney for the. the Commonwealth (as defined in the S Q Wu
Investigating Grand Jury Act, see 42 Pa.C.S. §4542) or a closely affiliated official. .¥ — | S-
<3
Indeed, as the supervising judge and the Special Prosecutor presently argue (Section 5 \ VY !
323 serves to codify aspects of the courts’ non-particularized powers, often referred to "= g Qe 4
- : \
o as inherent, implied, and/orincidentalin nature. Notably, these have been relied upon, ~S ~~ & )
al many other jurisdictions, as support for the court appointments of special 23 ce
prosecutors.® Although the structure imposed by the now-lapsed Independent Counsel 2 SS ©
Se i Fs
Ww ) Soy S
Se She e.g., Young v. U.S. ex rel. Vuitton et Fils S.A., 481 U.S. 787, 795, 107 S. Ct. ac Q KD
2124, 2131-32 (1987); In re Disqualification of Cirigliano, 826 N.E.2d 287, 288 (Ohio — b ¢
2004) (“[Cjourts of common pleas possess inherent power to appoint special 48 9 t
prosecutors in criminal matters.” (quoting State ex rel. Master v. Cleveland, 661 N.E.2d 3 2S Tr
180, 184 (Ohio 1996))); State ex rel. Friedrich v. Circuit Court for Dane Cnty., 531 Xu MS
N.W.2d 32, 38 (Wis. 1995) (explaining that, “despite the existence of statutes Ss eX Tt
authorizing circuit courts to appoint special prosecutors, the courts' power to appoint —%, iu Pr"
special prosecutors is gleaned from the courts' inherent power” (citation omitted)); State . +S a. a
v. Hoegh, 632 N.W.2d 885, 890 (lowa 2001) (“We confirm the inherent power of district ¢ co > ~
courts to appoint special prosecutors when necessary for the administration of justice.”); t wu
State ex rel. Goodwin v. Cook, 248 S.E.2d 602, 607 (W. Va. 1978) (“Other jurisdictions an»)
& ,

Boe
Re

N.E. 98, 102 (Ind. 1916) (collecting cases for the proposition that a court has authority

y w\S to appoint a special prosecutor, where the regular one was disqualified); Tay/or v. State,

e ‘ w 38 So. 380, 383-85 (Fla. 1905) (same); State v. Eckelkamp, 133 S.W.3d 72, 74 (Mo. Ct.

t 9g App. 2004) ‘ [T]he power to appoint a special prosecutor is not limited by the statutory
of (continued... <=

US 64, O [J-17-2015] - 10 l_avw QO Wye: (ce
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~iSet forth a brief summary of the facts sufficient to advise th
violated, without more, ls not sufficient In a summary case, you must cite the specific section(s) a
allegedly violated. The age of the victim at the time of the offense may be included if known. in addition, social sacurit

account must be established, list only the last four digits. 204 PA.Code §

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Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 78 of 8
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49% POLICE CRIMINAL COMPLAINT

Docket Number: Date Filed: | OTN/LiveScan Number Complaint/incident Number,” C Fy
08/06/2015 a 2915-1173 NN \
First: Middle: Last: SIF Kf a-
Defendant Name PATRICK ROCCO REESE” KRi5tt

The acts committed by the accused are described bel

appropriate. When there is more than one offense, each offense should be numbered chronologically.

ow with each Act of Assembly or statute allegedly violated, if

e defendant of the nature of the offense(s) charged. A citation to the statute(s} allegedly

nd subsection(s) of the statute(s} or ordinance(s)

y numbers and financial information
§ 213.1 ~ 213.7.)

(e.g. PINs) should not be fisted. if the identity of an
“Hachoate;’| (Attempt C Solicitation 1 Conspiracy
“Offense | _18907A 18902 A 18 903
KX 1 4955 m i8PACSA 1
Lead? Offenset _ Seciit Subsection PA Statute (Title) Counts Grade NCIC Offense Code UCR/NIBRS Cade
C0 Safety Zone (1 Work Zone

CC Interstate

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rt

Statute

(include the name of statute or ordinance): 18 P. LATION OF PROTECTIVE ORDERS

Acts of the accused associated_with this
Supervising Judge. that, among other things,

‘3

/ proceedings before the eae sy or Supervising Judge, exhibits, or other information p:

.to intorrfation pertaining to the Special Prosecutors investigation.
A” hig kW issue protect Were
LC

| with this Offense: Violated Protective Order issued 00.22" day of August, 2014 by William R. Carpenter
provided "(4) Ernployees of the Office of the Attorney General shall not. have have access to transcripts of

Che Protective Order issued by
Lif -——--—4

| Prosecutor's ifve

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pursuant toSection 4954-—_~

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CJ Attempt OC Solicitation (J Conspiracy Yr va pe iL
18.9014 18 902 A 18 903 Later) Le
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Lead? Offense "Section Subsection PA Siatute (Title) Counts Grade NCIC Offense Code UCRINIBRS Code
(Ser aoe an
SBE plenn ah OC Interstate CO Safety Zone (J Work Zone
Statute Description (include the name of statute or ordinance):
Acts of the accused associated with this Offense:
P tneho: te “| [) Attempt CI Solicitation OU Conspiracy
‘Offense . 18901 A 18 902A 18 903
Lead? Off # Section Subsection PA Statute (Title) Counts Grade NGIC Offense Code UCRINIGRS Code
“PennDOTD “INCAS
(fapp Ligablays ce: af SiNSET RP a CI Interstate C] Safety Zone (] Work Zone
Statute Description (include the name of statute or ordinance):
Acts of the accused associated with this Offense:
Page of

OPC 412A — Rev. 12/14

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C/~ IN THE COMRT OF COMMON PLEAS 1 W!
( MONTGOMERY COUNTY, me

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INVESTIGATINGGRAND JURIES . : Bonk

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2 Ke A :
: In Re: Powers and Responsibilities of

IN RE:

a 0
\ \ ys 9 X 6 : Special Prosecutor Exercising
« \ +t : Extraordinary Jurisdiction; on Allegations that
& yw ‘ Q \) Y ¢ : Secret Grand Jury. or Related Information was
A ( 0 +t : Unlawfully and/or Negligently
: Accessed/Released/Compromised

AND NOW, this 29th ey of May 2014, after " ‘preliminary investigation this
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finds there are reasonable grounds to believe a further more substantive investigation is

warranted into allegations that statewide Grand Jury secrecy may have been compromised:

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N It is therefore ORDERED and DIRECTED by this Court in accordance with the authority
vested in it by the 1078 Pennsylvania Investigating Grand Jury Act of 1978, 42 Pa. CS. § he Laon
‘ - ~ ( G yKE
. S 4941, ef seq. and the procedural rules that followed (Pa.R.Crim.P 220, et seg.) as well as psi \
C , relevant case law; that THOMAS E. CARLUCCIO ESQUrRE be and Is. Se eby A AS al
sy ¢, Taa QD teed cy ° Credle lor l an Ate Laden
\“ appointed Special Prosecutor with full power; dependent authori Kak Zdiction to Cn Les
with Tull powe oe
| nse Js

mf peas tena extent authorized by law any offenses related to ~

aasd 1 we ober “bode 1A Filed 02/17/16 Z ge 80 of 87
C5 La > Boner-l) ASSe OY

negligent violations and rules of Grand Jury secrecy as to aformer Statewide Investigating

~ Grand Jury, such as; pot on Ath wy Gene’

- ADPa, CS. § 4549(6) T Disclosure of proceedings by participants other than

3 RE San y cee

t A? ply ms, jan such persoris shall be sworn to secrecy, and shall be in conmfempt
n° 2 — gt of court if they disclose/reveal any information which at are sworn to keep

Qe
w . secret.” Aol on [A Hom (21a

ay Pa. C.S. § 5101 Obstructing administration of law or other governmental ~

function — “a person commits a misdemeanor of the second degree if he

"MB ae wt

intentionally obstructs, impairs or perverts the administration of law or other

governmental function by force, violence, physical interference or obstacle,

_- breach of official duty, cornell
: LA OA Aen |
. y other applicable offense. Nn ot An mp

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one investigator and if we one support staff.
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Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 81 of 87

4, Shall have day-to-day independence and will be free to structure the
investigation as he wishes and to exercise independent prosecutorial discretion
whether, which and when any potential witness should be brought before’ the

Grand Jury and/or whether, which, and_when charges should be brought, ~

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ding conte yurt. IG

5. Shall be permitted, while serving as Special Prosecutor, J consult with past and

_present members of the Office of Attorney General and take such action as is

necessary to ensure that matters he is investigating and/or prosecuting in his role
as Special Prosecutor are brought to a successful conclusion, so long as such
consultation/action does not present a conflict of interest with his duties as

Special Prosecutor and/or violate the secrecy oath.

6. Shall be empowered to respond to interference with his investigation by also

having authority to investigate and prosecute crimes committed in the course of,
and with the intent to interfere with the Special Prosecution’s investigation such
as Perjury, Intimidation of witnesses and other applicable and relevant violations

of the law.

7. Shall comply with all relevant statutory and case law as well as all applicable ,

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“. paid by the Commonwealth of Pennsylvania. The investigator/support staff

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9. Shall be appointed for a period not to exceed six months from today, unless the
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*S Special Prosecutor makes a written request_to the Court for an extension setting

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. Sint by the Special Prosecutor shall be compensated at the rate of $20.00 an
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hour. ~AlLthose seeking compensation shall keep detailed records of time and

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1].Shall provide the Supervising Grand Jury Judge with periodic summaries of any

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\? "sent a report addressed to the Pennsylvania Supreme Court, and the

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Supervising Grand Jury Judge, setting forth any findings and recommendations
ecommendalid

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on any proposed statutory, rulemaking or recommended practices that would

/ preserve the critical requirement of secrecy in Grand Jury proceedings as well as

insuring the rights of defendants to a fair trial and maintaining the integrity of

our Grand Juries.

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— Case 1:16-cv-00281-JEJ Do neat 1-4 Filed 02/17/ Page 83 of 87
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le yo WILLIAM R. CARPENT R, od.
/ OL u) 2 Supervising Judge " \ oe
fous we
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Copies sent on May 29, 2014 oct J » cock
By First Class Mail to: a VO Let [0 IX ren /N We
Chief Justice Ronald D, Castille" 7 / (, a " nu a vil (<p:
Pennsylvania Attorney General Kathleen G. Kane © / [LX fee!

Thomas E. Carluccio, Esquire aif Wwf aS
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IN THE COURT OF COMMON PLEAS
MONTGOMERY COUNTY: s PENNSYLYANIA LG AE

4 Hen ey ‘ ~€VE ( ~(
" SUPRE courT OF PENNSYLVANIA
~ / + NO.171 M.D. MISC DKT. 2012

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: MONTGOMERY COUNTY COMMON PLEAS
: M.D, 2644-2012

NOTICE NO, 123 (
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yo. ORDER ACCEPTING F

A. The Court finds Presentment No #60 of the Thirty-Fifth Statewide \
nivestigating Grand Jury is within the authority of said Grand Jury and is in accordance {Pp >
vith the provisions of this Investigating Grand Jury Act, 42 Pa.C.S. §4541, et seq. Further

find that the determination ‘of the Thirty-Fifth Statewide Investigating Grand Jury is’

The County conducting the tr trial of all charge pursuant to ) this Presentment
va fa / |}. “y La P42,

C. The District Attorney for Montgomery County, @r her designee, is hereb

tall be Montgomery County.

thorized to prosecute as recommended in the P esentment by institufin Fey rate

minal proceedings in the aforesaid-Counity. / See © Guxe + > o&

SO ORD D ei 19" dayof December, 2014. Ss
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Coll} v

ve COURT: N

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‘WILLIAM R. CARPE re » BO 1 QR
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Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 85 of 87

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IN THE COURT OF COMMON PLEAS OO Cr eer € J

MONTGOMERY COUNTY, PENNSYLVANIA

IN RE: SUPREME COURT OF PENNSYLVANIA

NO. 171 M.D. MISC DKT. 2012

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OUNTY COMMON PLEAS ‘ar
: NOTICE NO. 123

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Aro J Gedurol yc ienerro order Wea ole

ORDER ACCEPTING PRESENTMENT NO #60

THE THIRTY-FIVE STATEWIDE |

INVESTIGATING GRAND JURY D. 2644-2012

A. The Court finds Presentment No #60 of the Thirty-Fifth Statewide
nvestigating Grand Jury is within. the authority of said Grand Jury and isi ce
vith the provisions of this Investigating Grand Jury Act, 42 PaCS. $4541, et seq. Further

find that the determination of the Thirty-Fifth Statewide Investigating Grand Jury is’

uppaosted by Probable Cause and establishes a Prima Facie case against Attomey General
-athleen Kane. Accordingly, this Presentment i is accepted by the Court. = a

- B. The County conducting the trial of all charges pursuant to ‘this Presentment

1all be Montgomery County.
C. The District Attorney for Montgomery County, or her designee, is hereby
ithorized to prosecute as recommended in the Presentment by instituting appropriate

iminal proceedings in the aforesaid Coun os
SG ORDERED this 19" day of Decdmber, 2014. AY VSM WS be

WILLIAM R. CARPENTE
Supervising Judge

EXHIBIT C
Case 1:16-cv-00281-JEJ Document 1-4 Filed 02/17/16 Page 86 of 87

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__| find that the determination of the Thirty-Fifth Statewide Investigating Grand Jury is

Case 1:16-cv-00281-JEJ- _Document A Gila PUTI7/16- PAYS FR of a UA Cu ui

‘pa CA Mya TS q,
IN THE cout 2T OF COMMON PLEAS

MONTGOME RY COUNTY, PENNSYLY.

IN RE: : 7 SUPREME COURT OF PENNSYLVANIA
: NO, 171 M.D. MISC DKT. 2012

THE THIRTY-FIVE STATEWIDE :
: MONTGOMERY COUNTY COMMON PLEAS

INVESTIGATING GRAND JORY > MLD. 2644-2012

: NOTICE NO. 123

PRESENTMENT NO #60

ORDER/ACCEPT
/

A. ‘he Court finds Presentment No #60 of the Thirty-Fifth Statewide cal i
Investigating Grand Jury is within the authority of said Grand J ury and is in accordance Hy
with the provisions of this Investigating Grand Jury Act, 42 Pa.C.S, §4541, ef seq. Further

supported by Probable Cause and establishes a Prima Facie case against Attorney General

_ecearerercaemmacncnr —_—_

~~ Kathleen Kane, Accordingly, this Presentment is accepted by the Court.

N o Noah 4 Coe Supervising Judge
Je

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aol Be Ra Gk aca sed, (47 Geel ANElny Genes

B. The County conducting the trial of all charges pursuant to this Presentment
shall be Montgomery County.

C. The District Attorney_for Montgomery County, or her designee, is hereby

ituting appropriate

authorized to prosecut
criminal proceeding

SO ORDEF

WILLIAM R. CARPENTER

OTSecr pecan ye ny Swyrtvr

